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Exhibit 1
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DELAWARE STATE UNIVERSITY

OFFICE OF HUMAN RESOURCES

February 1, 2016

Dr. Nirmaljit Rathee
Delaware State University
1200 North Dupont Highway
Dover, DE 19901

Dear Dr. Rathee:

This letter is to confirni your appointment to the positon of Graduate Program Director/Associate
Professor in the College of Education, Health and Public Policy at Delaware State University,
retroactively effective July 11, 2015.

Further, you are being compensated in this 12-month faculty position with an annual salary of
$81,136.82 with a $5,000.00 stipend for the Director position, subject to normal federal, state, and
local withholdings. In addition, please note there are no changes to your elected benefits.

In addition, your signature below indicates that you accept the terms and conditions as stated
herein.

On behalf of the Human Resources Department of Delaware State University, please feel free to
contact us at (302) 857-6261 with any questions or concerns you may have, and we wish you a long
and successful relationship with the University.

Irene C. Hawkins thes

——

Vice President Dr. Nirmaljit Rathee
Human Resources

cc: file

ICH/seg

1200 N. DUPONT HIGHWAY ¢ DOVER, DELAWARE 19901-2277 ¢ (302) 857-6261 * FAX (302) 857-6264

Delaware State University is an equal opportunity employer and does not discriminate because of race, creed, national or ethnic origin, sex or disability.
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Exhibit 2
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DELAWARE STATE UNIVERSITY

Office of the President

LETTER OF APPOINTMENT
2019-2020

May 25, 2019

Dr. Nirmaljit Rathee

Professor and Director, Education Graduate Programs
Department of Education

Delaware State University

CAMPUS

Dear Dr. Rathee:

You are hereby issued a Letter of Appointment as a Professor and Director, Education
Graduate Programs in the Department of Education to perform the duties of that office as set
forth by the University and such duties as may be reasonably assigned by the University, for the
period of August 25, 2019 through May 25, 2020 at an annual salary of $97,909.00*.

This appointment and the working conditions are subject to the agreement reached by
the Delaware State University Chapter of the American Association of University Professors and
the Board of Trustees of Delaware State University.

Please indicate your acceptance of this offer by signing and returning the original and
one copy of this letter to the President's Office within two weeks of the date of receipt of this
letter.

*base salary is $92,909; salary includes
stipend as Director, Education Grad Programs;
does not include increases from the State
Sincerely,

Wilma Mishoe
| President
>
——oo
————

08 [os / 2019
Date * °

1200 North DuPont Highway * Dover, DE 19901 + 302.857.6001 (office) * 302.857-6003 (fax) » www.desu.edu
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Exhibit 3.
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Dr. N. K. Rathee

nrathee@desu.edu

"Seasoned Professional with 30+ Years of Experience in Education"

TABLE OF CONTENT

Core Professional Strengths
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Professional Experience

Office Held

Leading And Administering Education Graduate Program As Director

Curriculum Development, Change & Innovations

Research Grants, Projects & Research Involvement

Scholarly Journal, Editorship & Editorial Board

Creative Work — Books Publications

Selected Research Presentations, International & National

Selected Seminars And Workshops Attended

Professional A ffiliation/Membership

University, College, And Department Committee Service At Delaware State University

Community Service

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Dr. N. K. Rathee

nrathee@desu.edu

"Seasoned Professional with 30+ Years of Experience in Education"

Core Professional Strengths

* Educational Leadership Development * Equity, Diversity and Social Justice

* Transformational dynamics in Education * Women Empowerment & Leadership

* Ethics & Accountability in Leadership, Administration * Globalization of Higher Education &
and Emotional & Cultural Intelligence Curricular Innovations

Selected Highlights

* Google scholar citations of research work: 451 citations to date.

™%& Over 100 research papers authored.

% Attended over 120 conferences, presented research, served as a keynote speaker at several, and received multiple
Best Paper & Presentation Awards.

* Authored 12 books and contributed chapters to many other books.

O Due to popular demand in Italy, one of my published books has been translated from English to Italian
by Doctors of Medical, Oral, and Biotechnological Sciences at "G. d'Annunzio" University, Chieti-
Pescara, Italy.

% As Director of Education Graduate Programs, spearheaded the exponential growth of the Education Graduate
Programs (with a +700% increase in enrollment).

“% Chair of the Dissertation Advisory Committee for 72 students at DSU.

™& Member of the Research/Dissertation Advisory Committee for 117 students at DSU.

+ Recognized for 10 years of meritorious service on President’s Employee Appreciation Day,

% Received a Merit Award from DSU for extraordinary performance in teaching, research, and service.
% International Evaluator of many international Ph.D. dissertations.

™ Served on the editorial boards of many journals, including the Board of Directors of the International Journal of

Life Sciences & Medical Sciences and as the Social Sciences Senior Editor for the European Scientific Journal.

m& Served as Principal Investigator and Project Director of STEM-related Explorers’ Club, a research project
funded by the American Honda Foundation ($75,000.00).

% Served as Co-Principal Investigator for the Robert Noyce Teacher Scholarship Program ($2,000,000.00 grant
funded by the NSF).

% NSF Research Collaboration with the Department of Physics and Astronomy, Vassar College, Poughkeepsie,
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NY.
% Invited as an Ambassador for Peace and Development at UNO Headquarters in New York.
% Invited Member of the World Education Research Association (WERA).
* Appointed as a member of DSU President & College Dean search committees.

*% Served as member of DE&I council.
Extensive Administrative Experience

Throughout my career, I have amassed extensive administrative experience in various leadership roles.

* Serving as the Director of the Education Graduate Programs at Delaware State University since 2014, I
orchestrated a comprehensive transformation of the program, leading to substantial revenue generation and an

estimated profit margin of approximately 80-90%.

* | have actively contributed to academic governance as the Chair of the DSU Academic Affairs Committee since
2018, as the Chair of the Graduate Committee in the Education Department since 2014, and by active

participation in various other academic governance committees.

* Asan administrative leader, my commitment to diversity and inclusion is evident in my leadership of the

Campus Events subcommittee within the Diversity and Inclusion Task Force since 2017.

* Furthermore, my administrative involvement was showcased as I directed the Honda Explorer Club Research
Project from 2012 to Spring 2017 as Co-PI & PI of the Project.

* My extensive administrative experience is highlighted from my ability to drive curricular enrichment &

development, secure accreditation, and implement innovative initiatives.

* | led the comprehensive transformation of the program, introducing online and international elements that

resulted in remarkable growth of the Programs abroad, specifically in China, Caribbean Islands, and Belize.

Educational Qualifications

Ph.D. in Education (1992)
Performed statistical analysis to assess the interrelationship between Team Cohesion, Achievement and Performance,
accounting for gender differences.

Panjab University, India.

Research, Scholarship & Creative Activities
Chairperson, Dissertation Advisory Committee at Delaware State University
Y Ed. D. students = 72 and continuing
Member, Research/Dissertation Advisory Committee
Y Students = 117
Academic Advisor to the Graduate Students

2 Ed. D. students = 146
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= Master’s in Education = 34
= Member of M. Ed. Advisory Committee for Scholarly Research & Multimedia Presentation
= 16 Master’s students
= Integrated Studies Capstone Research Advisor: Total=23
" Spring 2012 — Advisor of two Capstone Research Scholars
s Spring 2013 — Advisor of one Capstone Research Scholar
# Spring 2014 — Advisor of two Capstone Research Scholars
® Spring 2015 — Advisor of five Capstone Research Scholars
® Fall 2015 — Advisor of three Capstone Research Scholars
* Spring 2016 — Advisor of two Capstone Research Scholars
® Fall 2016 — Advisor of two Capstone Research Scholars
= Spring 2017 — Advisor of two Capstone Research Scholars
= Fall 2017 — Advisor of two Capstone Research Scholars

# Spring 2018 — Advisor of two Capstone Research Scholars

Examiner for International Ph. D. dissertations
= Evaluated 5 international Ph. D. dissertations
" Chaired Dissertation & Thesis Committees for Panjab University
= 12 Ph. D. dissertations,
= 3M. Phil. Thesis,
= 1M. Ed. Thesis and

= 12 Masters’ Thesis.

Professional Recognition | Awards, Honors & Appreciations

Top Professor of the Year Award for 2024

International Association of Top Professionals has announced my selection as "Top Professor of the Year "
for 2024. This selection has been made by a panel of professionals based on my past achievements, longevity in
the field and contribution to society.

Recognition of Leadership Awards
Received the Record Retention & Enrollment Award from Delaware State University, 2023. 2022, and 2021.

Albert Nelson Marquis Lifetime Achievement Award, 2022.

A recognition given to individuals who have demonstrated outstanding excellence, leadership, and long-term

dedication in their respective fields, contributing significantly to national development.

Selected and featured among Professional Women: 2022 Honorees in the Wall Street Journal Of 1.5 million

listees, only a small percentage is recognized with the Professional Women honor. These individuals are lauded

for their ambition, professional fortitude, industry contributions, career accomplishments through inclusion into
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Honorees of the year.

Invited to present research - 10th Mediterranean Interdisciplinary Forum on Social Sciences and Humanities, MIFS
2022, University of La Laguna, Tenerife, Spain, 2022

Due to popular demand in Italy, one of my published books has been translated from English to Italian. Title:
Contemporary Yoga Education: Transforming the body, mind & soul by Dr. Franca Daniele, MD, Department of
Medical, Oral and Biotechnological Sciences, "G. d'Annunzio" University, Chieti-Pescara, Italy.

2021, recipient of Best Paper Award, |OSSBR Winter Online Conference.

2021, Recognized for delivering an Outstanding Presentation. Education Psychology, and Humanities International
Conference, 2021. Virtual Conference

2020, Recipient of Outstanding Faculty Award Education Department in Spring 2019 2019,

Recognized for 10 years of meritorious service, President’s Employee Appreciation Day
Recipient of the Global Teacher Role Model Award, 2017.

2016, Recipient of Professional Development Awards from the years 2010 to 2016
2016, Recipient of Sunshine Award by the College of Education, Health and Public Policy 2015,

Invited as Judge during Delaware State World-Class FLL Competition, 2015
2014, Recipient of Appreciation Award from Delaware State University for 5 years of dedicated service 2013,
Recipient of Academic Enrichment Award, Center for Teaching & Learning

2013, Nominated for Excellence Award in Teaching, Delaware State University.

2012, Received Merit Award from Delaware State University for extraordinary performance in teaching,
research & service during the academic year 2011-2012.

2012, Nominated for Excellence Award in Teaching, Delaware State University.

2008, Letter of Commendation from Minister of State for Finance, Government of India for being teacher of
excellence.

2008, Award of Honor & Letter of Appreciation from Dodge Ball Association of Chandigarh.
2008, Appreciation Letter from Dodge Ball Federation of India.
2008, Letter of Appreciation from Institute for the Blind, Chandigarh, India.

2007, Award of Honor from Chandigarh Territorial Youth Congress (I) in recognition of contribution in promotion of
Education, Sports, and Games.

2007, Certificate of Appreciation from Dodge Ball Federation of India (affiliated to International Dodge Ball
Federation, USA) for services rendered as Sport Psychologist.

2006, Certificate of Honor as Distinguished Sports Psychologist from Chandigarh Dodge Ball Association. 2006,
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Commendation Award from Dodge Ball Association of Chandigarh as Distinguished Sports Personality.

2005, Award of Honor from Chandigarh Territorial Youth Congress (1) in recognition of contribution in promotion of
Education, Sports, and Games.

2005, Certificate of Appreciation from Netball Association of Chandigarh as Prominent Sport Promoter.
2005, Certificate of Honor from Indian Association of Sports Anthropometry.

2005, Letter of Appreciation for contribution during International Seminar organized by Aligarh Muslim
University, Aligarh, UP, India.

2004, Award of Honor from Chandigarh State Territorial Youth Congress.
2002, Award of Honor as Sports Promoter from Dev Samaj College of Education, Chandigarh, India.
2002, Letter of Appreciation from Mount Carmel School, Chandigarh, India.

2000, Letter of Appreciation from Dean Student Welfare, Panjab University, Chandigarh for contribution in
organizing the International Student Festival.

1999, Award of Honor from Panjab University, Chandigarh as Prominent Sports Promoter.

1997, Letter of Appreciation from Deputy Commissioner-Cum-Director Sports, Chandigarh for rendering help in
organizing 6th Women’s Cricket World Cup.

1997, Award of Honor from Panjab University, Chandigarh as Prominent Sports Promoter.
Professional Recognition & Excellence in The Subject Area

Keynote Address, |st Andean Interdisciplinary Forum on Social Sciences, Humanities & Education
at Andean University Simon Bolivar, Quito, Ecuador, 2024

Led the DSU Edu. Grad. Program team in Quality Measure Self-Study organized by DDOE, Spring, 2023. and
received the highest quality assurance rating for the Program.

Research Coordinator, American Educational Research Association’s (AERA) Doctoral Student Cohort

Program, 2022

Member Scientific Committee, 8th Mediterranean Interdisciplinary Forum on Social Sciences and Humanities (MIFS
2020), Barcelona, Spain, May 2020.

Recognized for dedicated service & hard work by Education Department Faculty twice -2019-2020.

Keynote Speaker. \0th International Conference for Academic Disciplines, Harvard University, Cambridge, MA, May
2019.

Keynote Speaker, Educational Research, Humanities and Statistics Interdisciplinary Conference, Washington, DC,
March 2019.

Outstanding Presentation Award, Educational Research, Humanities and Statistics Interdisciplinary
Conference, Washington, DC, March 2019.
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Doctoral Students Cohort Program Coordinator, American Educational Research Association’s (AERA) 2019 Doctoral
Student Cohort Program, Feb. 2019.

Member Organizing Committee, 2018 DSU Unity Day, Nov. 2018.

Certificate for Significant Contribution. Managing Chaos: Tools to Set Priorities and Make Decisions Under
Pressure, Chicago, IL. Oct. 2018.

Best Educational Research Presentation Award during International Journal of Arts & Science Conference, 2017.

Recipient of Outstanding Research and Presentation Award at International Conference for Academic

Disciplines, 2016.
Recipient of Outstanding Research Presentation Award at International Conference for Academic Disciplines, 2015.

Awarded Certificate for Outstanding Research Presentation at International Conference for Academic Disciplines,
2014.

Awarded Certificate for Outstanding Research Presentation at the 2014 ISIS-Miami Beach International
Multidisciplinary Academic.

Received Best Paper Award during the International Conference (International Organization of Social Sciences and

Behavioral Research International Conference 2014 organized at Atlantic City, NJ in April 2014
Invited as Guest Speaker at the International Forum 2014 at Delaware State University.

Recognition for Presentation of Interactive Activities during International Multidisciplinary Academic Conference
2014 at Miami, Florida
Received Best Paper Award during the International Conference (International Organization of Social Sciences and

Behavioral Research International Conference 2013 organized at Atlantic City, NJ in April 2013.

Recognized as a Faculty Member who made a significant impact on student athletes academically in the years
2012, 2013 and 2014 by Department of Intercollege Athletics, Delaware State University.

Awarded Appreciation Certificate for making contribution in Teacher Education Program in the year 2012- 2013.

Research Paper was declared Outstanding Research during the IJAS International Conference for Academic

Disciplines organized at Harvard University, Cambridge, MA in May 2012.

Received Best Paper Award during the International Conference (International Organization of Social Sciences and
Behavioral Research International Conference 2012 organized at Atlantic City, NJ in April 2012.

Contribution & Achievements in The Subject Area —

Research Advisor for Post-Doc Research, University of Almeria, Spain for Dr. I. A. Khan, Associate
Professor in Education Pedagogy at King Abdulaziz University, Saudi Arabia, Research titled: Utilizing
Experiences of Learning Strategies During COVID-19: Evolution of Post pandemic English Curriculum, 2022

Appointed as an International examiner for the evaluation of Ph.D. thesis - Aligarh University, India, 2021,
2022. 2023
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Deputy Editor, Dynamic Self Matters, e-Journal of DE & I Council, Delaware State University, 2022
Moderator at the 12th Annual Graduate Research Symposium, DSU, April 2021.
Honorary Guest Speaker, Global Conference on Education, Research, and Policy. Washington, DC., 2021

Honorary Guest Speaker, Education Psychology, and Humanities International Conference, Virtual
Conference, Feb. 2021. Global Shift in Educational Paradigm and Practices — Repainting the Canvas with
Innovative Strokes for Collective Efficacy.

Member, Panel of Experts. \st Educational Sciences Conference on 21st Century Education: Educational
Reforms and Global Challenges, ESJ.

Keynote Speaker. \0th International Conference for Academic Disciplines, Harvard University, Cambridge, MA,
May 2019. Interplay of Individual Differences, Design Thinking, Educational Equity, and Social Justice: Bridging
the Gap through Applied Critical Leadership.

Keynote Speaker, Educational Research, Humanities and Statistics Interdisciplinary Conference, Washington,
DC, March 2019. Socially Responsive Educational Leadership in a Diverse Era: A Critical Review through the
Lens of Social Justice and Equity.

Chair, Scientific Session. 9th LJAS International Conference for Academic Disciplines, Harvard University,
Cambridge, MA, May 2018. Embracing Diversity: Core Adaptation Through Social Justice and Equity.

Keynote Speaker, 8th International Scientific Forum, Pembroke, NC 2017. Navigating the Complexities of Cultural
Diversity and Effective Discipline in relation to Quality School Climate and School Leadership.

Chaired Technical Session. International Conference for Education, Boston, MA, 2017

Chair, Technical Session. 8th International Conference for Academic Disciplines, Harvard University,
Cambridge, MA. May 2017. Exploring the dynaniics of self-identity development through the lens of

Perceptual Educational Environment.

Keynote Speaker and Chair of the session, 3rd Pan-American Interdisciplinary Conference, 2017 Buenos Aires,
Argentina. Feb. 2017. Relooking at the Common Core Standards through the Lens of Equity — Closing the
Achievement Gap.

Chair, Scientific Session. 7th IJAS International Conference for Academic Disciplines, Harvard University,
Cambridge, MA, May 2016. /nvestigating Perceived Self-Efficacy for Learning & Performance And Academic
Control In Relation To The Academic Stress Among Student.

Guest Speaker, 7th Annual Women's Conference organized by Embracing Your Inner Woman Ministries,
Dover, Delaware, May 2016.

Invited to participate in Expert Discussion on State- vs. System-led Curricular Innovation in Higher
Education organized by American Council on Education, & Center for Policy research & Strategy,
Washington, DC. April 2016. Burnout among Teachers: A Growing Concern.

Invited as Key-Note Speaker. 2nd Global Conference on Education, Research, and Policy, April. 29, 2016 at
Washington, DC.
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Recipient Amazing Speaker Award, Advena World Conference, Washington, DC.
Moderator at the 6th Annual Graduate Research Symposium, DSU. April 2016.
Advisor for the two research presentations at the 6th Annual Graduate Research Symposium, DSU. April 2016

Chaired a session during the International Conference (International Organization of Social Sciences and
Behavioral Research International Conference 2016 organized at Atlantic City, NJ in March 2016. Probing the
mediating effects of reattribution feedback on mastery orientation.

Judge, FLL Competition, DSU, January2016.

Invited for delivering ‘Keynote’ address and to preside over the conference as a Conference Chair. 9th
International Conference on Teaching, Education and Learning, Dec. 19-20, 2015 at Bangkok, Thailand.
Manifestation of Stress among Teachers and their Mental Resilience.

Chaired Technology & Science Session on May 29, 2015 in 6th IJAS International Conference for Academic
Disciplines, Harvard Medical School, Boston, MA. Bodily-Kinesthetic Intelligence and the ability to control
anxiety in relation to Healthy Fitness Zone: An Exploratory Study.

Judge, FLL Competition, DSU, January2015.

Chaired Scientific Session during 9th International Conference on Business and Education, Arlington, VA. In
Oct. 2014. Parental Awareness on Prenatal Concerns: An Educational Perspective.

Chaired Research Session during 5th Annual International Conference for Academic Disciplines at Harvard
University, Cambridge, Massachusetts in May, 2014. Exploring the dynamics of psychomotor activities, in
relation to body suppleness, movement time, and body mass index.

Chaired Conference Session during the International Conference (International Organization of Social
Sciences and Behavioral Research International Conference 2014 organized at Atlantic City, NJ in April 2014.
A Comparative Study of Wellness Perception and Attitude towards Physical Activity among Active and Non-

Active Youth.

Member Organizing Committee, 2nd Annual Weight Management Strategies Conference 2014, Delaware State
University.

Guest Speaker & Chair, Scientific Research Session during International Multidisciplinary Academic
Conference at Miami, Florida in January, 2014. Mental Toughness and Concentration Skills among wrestlers
performing at different performance levels.

Invited as an Ambassador to participate in the deliberations of 3rd International Forum on Sport for Peace and
Development jointly organized at UNO Headquarters New York by the International Olympic Committee (IOC)
and the UN Office on Sport for Development and Peace (UNOSDP), with the support of the United States
Olympic Committee (USOC), June 2013.

Chaired Research Session during 4th Annual International Conference for Academic Disciplines at
Harvard University, Cambridge, Massachusetts in May, 2013. Balancing belligerence: An analytical

approach to optimize performance in combative sports.

Chaired Scientific Session during the International Conference (International Organization of Social Sciences
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and Behavioral Research International Conference 2013 organized at Atlantic City, NJ in April 2013. Study of

motor ability, perception, and proprioception among university freshmen.
Invited as Keynote Speaker, 5th Annual International Conference University of Pitesti, Romania in Nov.2012.

Chaired Research Session during 3rd Annual International Conference for Academic Disciplines at Harvard
University, Cambridge, Massachusetts in May, 2012.

Chaired a Scientific Session during the International Conference (International Organization of Social
Sciences and Behavioral Research International Conference 2012 organized at Atlantic City, NJ in April 2012.

Chaired Technical Session during 2nd Annual International Conference for Academic Disciplines at
Harvard University, Cambridge, Massachusetts in 2011.

Chaired Scientific Session during 3rd Annual International Conference, Pitesti, Romania in 2010.

Associate Advisor, Chandigarh Company Sports Association affiliated to Indian Company Sports
Federation and recognized by Company Sports Federation of Asia since 2011.

Invited as a Judge, Panjab University Inter College Skill in Teaching Competition in Education, Govt. College
of Education, Chandigarh India in 2006.

Advisor, Dodgeball Association of Chandigarh since 2005. Invited as a Resource Person, UGC Sponsored Series
of Extension Lectures, Govt. College for Men, Chandigarh, India in 2005.

Invited as a Judge, Panjab University Inter-College Skill-in-Teaching Competition in Yoga, D S College
of Education, Chandigarh, India in 2005.

Chaired a Session, International Seminar on Hifizane Sehat Aur Maholiyat, Aligarh India in 2005.

Chaired Scientific Session, UGC International Symposium on Yoga in New Millennium & Annual Meet Varanasi
India in 2005.

Invited as a Resource Person, Seminar on Management of Hostel for Visually Impaired Children, Institute for the
Blind, Chandigarh, India in 2004.

Invited as a Resource Person, Orientation Programs for Teachers, Navodaya Vidyalaya Samiti, Ministry of
Human Resource and Development, Government of India in 2003.

Invited as a Judge, Panjab University Skill in Teaching, and Teaching Aids Inter College Competition in the
subjects of Education and Yoga, D S College of Education, Chandigarh in 2002.

Invited as a Resource Person, Orientation Programs for Education Teachers, Navodaya Vidyalaya Samiti,
Ministry of Human Resource and Development, Government of India in 2002.

Involvement in International Olympic Movement in 2001: Invited as Sports Educationist in Sports
Leadership and Management Cum Administrator’s Program of the Olympic Solidarity Sports
Administration conducted by International Olympic Committee.

Chaired 2 Sessions during Refresher Course in Education for Lecturers, P. U. Chandigarh from Oct.9 to Oct: 29,
2001.
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Chaired a Scientific Session, 13th National Conference on Sports Psychology, Sports Psychology

Association of India, Haridwar, India in 2000.

Appointed as an Advisor, International Students Festival organized in Panjab University, Chandigarh, India in
2000.

Appointed as a Liaison Officer during 6th Women Cricket World Cup, 1997 organized in India.
Professional Experience

2018, Professor of Education, Department of Education, Delaware State University, Dover, Delaware, USA 2015,
Director, Education Graduate Programs, DSU, Dover, DE

2014, Interim Director, Education Graduate Programs, DSU, Dover, DE

2013, Associate Professor, Department of Education, Delaware State University, Dover, Delaware, USA 2012,
Visiting Scholar in the Department of Physics and Astronomy, Vassar College, Poughkeepsie, NY 2009, Assistant

Professor, Department of Education, Delaware State University, Dover, Delaware, USA

2004, Reader (Associate Professor), Education Faculty, Panjab University, Chandigarh, India

2002, Resource Person, Orientation Programs for Teachers, Navodaya Vidyalaya Samiti (K-12 School), Ministry of
Human Resource and Development, Government of India

1999, Senior Lecturer, Education Faculty, Panjab University, Chandigarh, India
1994, Lecturer, Dev Samaj College of Education, Chandigarh, India

1993, Lecturer, M.C.M.D.A.V. College, Chandigarh, India 1992,

Lecturer, D.A.V. College Chandigarh, India

1988, Lecturer, Govt. College for Girls, Chandigarh, India 1986,

Lecturer, Govt. College for Girls, Chandigarh, India

Office Held

- 2020 Director, Education Graduate Programs — since 2014
- 2019 Co-Chair, DSU Academic Affairs Committee since 2018

- 2020: Chair, Graduate Committee, Education Department - since 2014
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- 2019: Leading - Campus Events, a subcommittee of D & I Task Force — Since 2017
- 2017: Director & PI, Honda Explorer Club Research Project — 2012 to Sp. 2017
- 2015 Interim Director, Education Graduate Programs — from 2014

- 2015 Associate Editor-in-Chief of IJSS— from 2010

- 2015 Chair of Bye Laws Committee of the Education Department — from 2010

- 2014 Chair, Curriculum Committee of the Education Department — from 2013

- 2015 Internal Reviewer DSU Self-Study — from 2014

- 2015 Member, Board of Judges, Del. State World Class FLL Competition — from 2014
- 2015 Associate Advisor, Chandigarh Company Sports Association — from 2011

- 2015 Consultant, Sewapathi Charitable Trust from 2010

- 2015 Advisor, Dodge Ball Association of Chandigarh, affiliated to Dodgeball Association of USA —
from 2005

- 2015 Secretary Finance Sambhang Theater Group; A Society of Performing Art — from 2004

- 2014 Member Organizing Committee, 2nd Annual Weight Management Strategies Conference 2014 at
DSU

- 2006 Joint Secretary, Chandigarh Swimming Association for Disabled.
- 2002 Coordinator, Refresher Course for Lecturers: Academic Staff College, H. P. University, Shimla.

- 2001 Coordinator, Refresher Course for Lecturers, Academic Staff College, Panjab University,
Chandigarh, India, and University Grants Commission.
- 2000 Advisor, International Students Festival organized in Panjab University, Chandigarh, India.

- 1997 Liaison Officer during 6th Women Cricket World Cup

Leading and Administering Education Graduate Program as Director

4 In my role as Director of the Education Graduate Program, I spearheaded a comprehensive transformation
of the program, tailoring it for the online landscape to engage a global student body. This overhaul included
the implementation of a high-quality curriculum and the introduction of international hybrid synchronous
collaborations for both the Ed. D. and M. Ed. Programs, ensuring a robust and dynamic educational

experience for the students.
o Revenue Generated - Multimillions (in $), Estimated Profit Margin — Approximately 80-90%

4 Lead the International Collaboration Initiative of Delaware State University’s Ed. D. Program with Northeast
Normal University, Changchun, China - one of the six national normal universities in the People's Republic of

China.

A | fronted the strategic planning, preparation, and leadership of Delaware State University's Education Graduate
Programs, successfully securing National Recognition and Advanced-Level accreditation from CAEP.

Curriculum Development, Change & Innovations

> 2022-2020, 2017, and 2016: Planned and introduced Curricular Revisions of the Education Graduate
Vv

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Programs that were approved by the Faculty Senate and General Faculty.
Internship assessments aligned with the NELP Standards in 2020.
Designed the curriculum model for internalization of the Ed. D. program

Led the Education Graduate Programs through the CAEP Accreditation process to receive National
Recognition for the Graduate Programs.

In the process of aligning the Ed. D. in K-12 and M. Ed. curriculum and assessments with the NELP
standards in 2019-2020.

Self-Study Report for CAEP Accreditation, 2018-2019.
Upgradation of Internship activities as field experience & alignment with professional standards, 2019.

Revised the Education Graduate Programs Handbook, Bluebook, and Internship Manual & Internship
packets.

Planned and Introduced Hybrid format for Ed. D. and M. Ed. programs.

Developed a Model of Transition Points for the Graduate Programs.

Comprehensive curricular revision of the Ed. D. in Educational Leadership (K-12 concentration). The
revised and approved curriculum is being offered from Fall 2017 at the Delaware State University.

Created two separate concentrations of Higher Education and K-12 for the Ed. D. program at
Delaware State University in 2016

Developed two new Ed. D. capstone alternatives i.e., the Case Study and the Project Study in addition to the
traditional Dissertation in 2016.

Developed 5 new courses for the Ed. D. program in 2016.

Developed multidisciplinary STEM related curriculum for K-8 students participating in DSU Explorers Club
STEM Program 2014 -2016.

Participated in the Education Department’s Data Day in December 2016 and 2014; compiled the
assessment data to review the programs’ needs and changes.

Introduced Pius-Minus Grading System in Delaware State University with a proposal in 2013. This
proposal has been approved by the DSU Academic Committee and the Faculty Senate in 2015.

Developed curriculum “Introduction to Sports Movement” for K-8 students of BGC participating in DSU
Explorers Club STEM Program during Spring 2013.

Developed curriculum “Movement Science” for K-7 students of BGC participating in DSU Explorers Club
STEM Program during Summer 2013.

Attended week-long proceedings of MADE CLEAR: Climate Science Academy at Lewes DE in 2013.

Participated in 2013 DSU Faculty Training & Preparation Workshop in Integration of Climate Studies
and Sustainability in Science Education and Stem Courses to incorporate climate change in curriculum of
my Teaching Fitness and Physical Activity Concepts course (EDUC 124) during Fall 2013.

Developed interdisciplinary course for Gender Studies in 2012, which has been offered by the University to the
students from Spring 2013.
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As a Member of Curriculum Committee of the Department during academic years 2010- 11, 2011-12 and
2012-13 actively participated in deliberations to upgrade/modify existing syllabi of the Department, as well as the
syllabi of many new courses to be introduced in the Department.

Revised and improved the curriculum of all the eight courses that I have been teaching since 2009 to keep pace
with current trends and developments, and also to align them with the NASPE, CAEP/NCATE and Common Core
standards. Informal and summative assessment rubrics for these courses have also been developed from time to
time.

Created new EFE assignments for the courses Motor Development (EDUC -257) for session 2013-14.

Continuously participated in the process of academic enrichment and curriculum development as a
member of the University Academic Committee, Faculty Senate, and International Education Sub- Committee.

Curriculum Development Activities Prior to Joining DSU

2006 Participated in International Conference on Innovative Practicum in Teacher Education organized by Dev
Samaj College of Education, Chandigarh.

2005-06 Member of Committee constituted by Panjab University (Faculty of Education) to finalize the
Syllabus and Regulations of Post Graduate Diploma in Yoga Therapy.

2003 Subject Expert, Workshop on Transformation of Print Materials into Self-Learning Materials,
Chandigarh, India.

1999 Participated in Seminar cum Workshop sponsored by UGC on Micro Teaching.

1999 Participated in Seminar cum Workshop sponsored by UGC on Quality Teacher Education, NCTE

Curriculum Framework.

Member of various Committees constituted by University and by the Education Faculty to review, revise and
develop curriculum for undergraduate and postgraduate classes and also to design and develop new courses and

programs from time to time.
Research Grants, Projects & Research Involvement

Intensive Research-Based Practical Training Sessions for Developing Research Competencies Among
Education Research Scholars - 2022 Mini-Grant awarded by the Center for Teaching Learning, Delaware State

University.

Member, Research Group, DSU Diversity & Inclusion Task Force, 2018-2019. Contributed to developing
and analyzing the DSU Climate Survey, and in preparation of its Executive Summary Report.

Principle Investigator and Program Director of STEM related Explorers’ Club 2014- 2017, a research project
funded by American Honda Foundation ($ 75,000.00) for Fall 2014 — Spring 2017 carried out at Delaware State
University.

Co-P I, Robert Noyce Teacher Scholarship Program 2012-2018. Education Department, Delaware State University
($ 2,000,000.00 Grant funded by the National Science Foundation).

Grant application submitted seeking grant for the Explorer Club for the years 2017 — 2019 to the American Hero

Honda Foundation — Unsuccessful.

Worked on the Delaware Humanities Forum (DHF) Opportunity Grant for 2015-2016 to fund the community
Case 1:24-cv-00777-UNA Document 1-1 Filed 07/02/24 Page 20 of 101 PagelD #: 37
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roundtable series “Quintessential Diversity Roundtable.”

NSF Research Collaboration with the Department of Physics and Astronomy, Vassar College, Poughkeepsie,
NY 2013-2015

PI and Program Director of STEM related Explorers’ Club, a research project funded by American Honda
Foundation ($ 75,000.00) for Fall 2012 — Spring 2014 being carried out at Delaware State University.

Grant from Delaware Humanities Forum, contributed to the process of grant seeking, 2013- 14.

Co-Principle Instigator in a research project titled: The effects of American Fathers’ involvement in active play on
children's self-competence carried out in Delaware State University in 2012-13. The purpose of this project was to
investigate the effect of Sports Daddy Program related to American fathers! involvement, parenting styles, and

children's self- competence.

Authored Research Grant titled Promoting Physical, Mental and Emotional Wellbeing among Young Children
through a specifically Designed Yoga Program in 2013 for PRIDE Innovation Grants, DSU.

Indo - US 21st Century Knowledge Initiative (OSD), Initiated process and submitted research project for the

initiative in 2016.

Contributor: DOE Teacher Preparation and Improvement Grant in PE, 2016

Scholarly Journal, Editorship & Editorial Board

Active Involvement in the review process of research work

Manuscript Title: Learning to teach and teaching to learn pre-service science teachers’ assessment of supported
teaching in school - Review Report Submitted: Sept. 11, 2021.

Manuscript Title: Effect of cognitive-behavioral therapy on pupils with attention deficit hyperactivity disorder in
two selected primary schools in Cape Coast Metropolis, Ghana - Review Report Submitted: Aug. 15, 2021.

o Manuscript Title: Effectiveness of Teaching Program on Nurses’ Performance during Endotracheal Suctioning in
the Critical Care Units in Syria. - Review Report Submitted: Aug. 4, 2021.

2 Manuscript Title: Influence of Characteristics of Work-Life Balance on Teachers’ Levels of Job Satisfaction in
Public Secondary Schools in Nairobi, Kenya - Review Report Submitted: June 19, 2021.

Reviewed 34 Research papers and presentations for various International & National Journals.

Currently Serving as

» Social Sciences Senior Editor, European Scientific Journal, Macedonia
| Associate Editor, Editing & Proofreading. JPES, Romania
Member & Reviewer, International Editorial Board, European Scientific Journal, Macedonia

) Member, Editorial Board, ESJ Social Sciences, Macedonia

Have Served as

Member, Reviewers’ Committee of Journal of Educational Sciences and Research, Pakistan 2020-2013

Member, Editorial-Advisory Board, Journal of Educational Sciences and Research, Pakistan, 2020-2013

© Member of Editorial Board, \nternational Journal of Life Sciences and Medical Sciences 2012 -2015.
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Associate Editor of International Journal of Sport and Society, Vol. 4(1), 2014.
Associate Editor of International Journal of Sport and Society, Vol. 3(3), 2013.

0 Associate Editor of International Journal of Science and Society, Vol. 3(4), 2012.

a Associate Editor of International Journal of Science and Society for 2011 volume.

0 Associate Editor of International Journal of Sport and Society, Vol. 3 (4), 2012.

1 Associate Editor of International Journal of Sport and Society, Vol. 1, 2012.

| Associate Editor of International Journal of Science in Society, Vol. 2, 2011.

> Associate Editor of International Journal of Sport and Society, Vol. 1, 2010.
Refereed research articles, \nternational Journal of Sport & Society, Vol. 3(3), 2013.
Refereed research articles, International Journal of Technologies in Learning 2013
Refereed research articles for International Journal of Science in Society in 2011.

a Refereed research articles for International Journal of Sport and Society in 2010.
Creative Work — Books Publications

Published 12 Books

Book writing in Progress:

1. Book on Creative Equity-Based Leadership Practices.

Book Chapter Writing

1. Chapter titled: A Shift in Paradigm in the Book: Young, Gifted and Missing: The Underrepresentation of

African American Males in Science, Technology, Engineering and Mathematics Disciplines, 2022

2. Chapters titled: Zumba, Pilates, and Yoga in the Book: Physical Activity and Sport, 7th Edition, 2021

Articles & Lessons Published

1. Article titled Yoga-An Amazing Fuel for Body and Mind. Published in Magazine Education Success,
Vishwas Publications, Chandigarh, page 101, August, 2004.

NO

Article titled Positive Health-Attitudinal Healing. Published in Magazine Nari Pehchaan, 2000.

3. Contributed as Subject Expert in the writing of lessons for distance education for B.Ed. and M.Ed. Courses.

Selected Research Publications | *Refereed & Invited | 451 citations on Google Scholar

+ *Rathee N. K. (2023), Designing An Instrument For Gauging Equity Literacy European Scientific Journal.

* *Ganguly, R., Rathee, N. K., and Rathee, V. S. (2023). Learning Engagement of Adult Females in Remote Physical
Fitness Program Through Mobile App Intervention. European Scientific Journal

& *Yankovich, D., Rathee. N. K., and Singh, V. (2023). Implications of Student Loan and Finance Management Skills
of Undergraduate Students. European Scientific Journal.
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Rathee N. K. (2022), Embracing the Values of the International Students. Published in Dynamic Self Matters,
Journal of DE & I Council, Delaware State University.

* Pierre Y., Rathee N. K. & Rathee V. S. (2021). Developing Cross-Cultural Competency through Multicultural
Perspective: An Exploratory Inquiry. European Scientific Journal (ESJ).

*Rathee, N. K. (2021). Assimilating equity as a greater strength to serve 21st century education.
Proceedings of IOSSBR Conference.

*Yankovich, D. Pokrajac. D., and Rathee, N. K. (2019). Educational Implications of Student Loan and the Attitude
Towards Student Loan. /nternational Journal of Arts & Science, 09(01):195—202.

*Bhardwaj, S., and Rathee, N. K. (2018). Exploring Psycho-Somatic Implications of Yoga Practices — A Strategic
Inquiry. EJPESS, Vol. 4 (8), 84-94.

*Bhardwaj, S., Hooda, M., and Rathee. N. K. (2018). Hypercompetitive Attitude Among Athletes: A Behavioral
Analysis. EJPESS, Vol. 4 (8), 49 — 56.

*Rathee. N. K. and Eyong, D. N. (2017). Exploring Emotional Intelligence and Authentic Leadership in Relation to
Academic Achievement among Nursing Students. /nternational Journal of Arts & Sciences, 10 (01), 49-56.

*Rathee. N. K. (2017). Relooking at the Common Core Standards through the Lens of Equity — Closing the
Achievement Gap, European Scientific Journal, Vol 13 (22), 1-11.

*Rathee, N. K. (2016). Manifestation of Stress and Mental Resilience among School Teachers. Journal of Teaching
and Education. Vol. 5(2), 341-348.

*Rathee, N.K.. and Salh, M.S. (2015). Investigating the dynamics of athlete satisfaction in relation to different
performance levels. Swedish Journal of Scientific Research. Vol.2 (7), 49-57.

*Rathee, N. K., and Bajwa, S. (2015). Parental Awareness on Prenatal Concerns: An Educational Perspective.
European Scientific Journal, Vol. 11 (22), 231-237.

*Rathee, N. K., Magnes, J., and Davis, J. (2014). Kinematics of board breaking in karate using video analysis —a
dynamic model of applied physics and human performance. European Scientific Journal, Vol. 10 (12), 339-348.

*Rathee, N. K., Rathee, V. S., and Bhardwaj, S. (2014). Concentration, Reactive-Proactive Aggression, Non-
verbal Aggression, and Wellness among Video Games Playing Adolescents. /nternational Journal of Science in
Society, Vol. 5 (1), 33-41.

*Rathee, N. K., Bhardwaj, S., Lal, N. (2014). A Qualitative Study of Mental Perseverance and Mental Concentration
among Elite and Sub-Elite Wrestlers. European Scientific Journal, Vol. 10 (8), 202-209.

* Dujari, A., Rathee, N. K., and Bhardwaj, S. (2013). Study of Motor Ability, Perception and Proprioception among
University Freshmen. Journal of Soc. Sci. Res., Vol. 2, 11-18.

Rathee, N. k., and Still, M. (2013). Investigating the relationship between flexibility, reaction time and obesity
among college youth. L/SS, Vol. 4 (2), 1- 8.

*Rathee. N.K., and Bhardwaj, S. (2013). Optimizing Aggression in Combative Sports- An Analytical Approach.
Journal of Phy. & Sport. 13(2):153 — 156.

*Rathee. N.IK., and Bhardwaj, S. (2012). Psychological Resilience among participants of Combative Sports Groups.
Journal of Teaching and Education, \(7): 43-49.
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*Rathee, N.K.. and Bala, S. (2012). Constructing Personality Profile of Charismatic Hockey Player Dhanraj Pillay.
JPES. 12(3): 253 — 258.

Rathee, N. K. (2012). Achieving Psycho-cognitive harmony through Traditional Training Program: An Experiential
Approach. Proceedings of 5th Annual International Conference, Pitesti, Romania.

*Rathee, N.K., and Pal, G.P. (2012). Effects of residential status and sports participation on the mental wellbeing of
school children. The /nternational Journal of Science in Society, Vol. 3 (2), 147- 158.

*Rathee, N.K., and Salh, M.S. (2012). An Investigation of Emotional Maturity among International, National
and State Level Players. The /nternational Journal of Sport & Society, Vol. 2 (4), 73- 81.

Rathee, N. K. (2012). Study of Motor ability, Perception and Proprioception among University Freshmen.
Proceedings of /nternational Organization of Social Sciences and Behavioral Research International Conference:
organized at Atlantic City, NJ.

*Rathee, N.K., and Singh, J. (2011). Achievement Motivation and Adjustment Patterns among International and
National Players of Different Team Sports. Journal of Social Sciences, Vol. 7 (3): 369-374.

*Rathee, N.K., and Bala, S (2011). Relationship between emotional intelligence and sports performance.
Penalty Corner, Vol. 11 (1), 19-24.

*Rathee, N.K., and Sharma, A.K. (2010). Exploring the Effects of 12 weeks Physical Activity Program on Emotional
intelligence and Mental Health among Visually Impaired Children in India. The /nternational Journal of Sport &
Society, Vol. | (4), 77-85.

*Rathee, N.K., and Salh, M.S. (2010). Exploring Cognitive Style and Emotional Maturity among Indian Handball
Players Performing at Varying Levels. L/SS, Vol. 1, 26-33.

*Rathee, N. K. (2009). Analysis of self-perception among college students. Journal of Exercise Science and
Physiotherapy, Vol. 5 (2), 87-90.

*Rathee, N. K. (2009). Investigation of Socio-Psychological Differentials among College Students. Psycho- Lingua,
39 (1), 34-38.

Rathee, N.K., and Pal, G.P. (2008). Managing Anxiety Exigencies: By Adopting Cognitive- Behavioral
Interventions. /n the Proceedings of National Conference on Scientific Temperaments in Sports.

*Rathee, N. K. (2008). Comparative analysis of Mood Profile and Goal Orientation among Combative and Non-
Combative Sportspersons. Penalty Corner, Vol. 8 (1&2), 71-75.

*Rathee, N. K. (2008). Effects of perceptual motor training on perceptual motor abilities and intelligence among
mentally challenged children. JSS, Vol. 17 (1&2), 1-11.

Rathee, N.K., and Salh, M.S. (2008). Survey of Self Concept among Position Holding All India Inter University
Handball Players. Proceedings of National Seminar on Sports Exercise Health Connections C handigarh.

~ Rathee, N. K. (2007). Impact of mental imagery and mental rehearsals on test anxiety. Journal of Kinesthetic
Abilities, Vol. 5, 81 — 86.

*Rathee, N. K. (2006). Exploratory Study Regarding Youth Problems Among Pakistan and Chandigarh Mentally
Challenged Cricket Players. Penalty Corner Journal. Issue-1 Vol. 5, p 3-6.

Rathee, N. K. (2006). Analytical distinction between tests, measurements, and evaluations. Journal of Innovative
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Practicum in Teacher Education, 3 (1), 57 — 63.

*Rathee, N.K.. and Singh, M. (2006). Towards Integrated Personality through Sports: An Overview.
Penalty Corner Journal. Issue- 1, Vol. 5, 71-73.

*Rathee, N. K. (2006). Impact of Sports and Video Games on the Mental Health of Adolescents. J/SS, Vol. 15, No. |
&2,p 1-1.

Rathee, N. K. (2005). A review of fasting benefits and yoga shudhi kriya. Proceedings of International Seminar on
Hifzane Sehat, 101 - 108.

*Rathee. N. K. (2005). Aggression among Participants of Different Types of Sports. Penalty Corner, Issue-1, Vol. 4,
p 8-13.

*Rathee, N.K., and Gupta, N. (2005). Mental Imagery ability Among Elite Basketball Players. Penalty Corner
Journal, Issue-1, Vol. 4, p 79- 84.

Rathee, N. K. (2004). Integrating technology for sustainable growth in teacher education. Proceedings of
Seminar-cum-Workshop on Global Factors Influencing Education, Technology and Resources, p. 29— 4 Ti

Rathee, N.K., and Singh, M. (2003). Better Mental Health for Better World. Proceeding: National Conference
cum Workshop on Sports & Society. p 27-28.

Rathee, N. K. (2003). Intellectual Goals and the life of the mind. Penalty Corner, 2 (3), 47-59.

Rathee. N.K., and Sharma, A. (2003). Sports for the Society-from vision to ultimate reality. Proceedings of National
Conference cum Workshop on Sports & Society. p 31-33.

Rathee, N.K., Kumar, R., and Kumar, V. (2003). Community, Fairplay and Sports. Proceedings: National
Conference cum Workshop on Sports & Society.p51-52.

Rathee. N. K. (2003). Reemphasizing Psycho — Physio Fitness — A Holistic Approach. Proceedings of International
Conference on Sports Sciences. p 91-98.

Rathee, N. K. (2002). Innovative Rehabilitative Approach Mechanism. Jn the Proceedings of National Conference
on Developing Linkages between RCI and Institutions for Disabled, Chandigarh, India.

Rathee. N. K. (2002). Psyching Up the Players — Need of the Hour. Proceedings of Refresher Course. UGC and ASC
Himachal Pradesh University, Shimla, p 5-6.

Rathee. N. K. (2001). Role of Mental Imagery in Sports. Proceedings of Refresher Course. UGC and ASC, Panjab
University, Chandigarh, p 72-73.

*Rathee. N. K. (1999). Team Cohesion in Respect to Performance and Gender of Team Athletes. Journal of Sports
Sciences, Vol. XII, No. I, p 1-9.

Rathee, N. K. (1998). Goal Setting in Sports Organizations. Proceedings of International Congress on Management,
p 148-150.

*Rathee. N. K. (1997). Adjustment Among Male and Female Athletes With Varying Levels of Performance.
Sports Authority of India Scientific Journal, Vol. 20(1), p. 19-25.

Selected Research Presentations | International & National

July, 2023 Research presented at ISER Conference, Vancouver, Canada
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> Feb. 2021 Education Psychology, and Humanities International Conference, Virtual Conference, Washington,
DC. Global Shift in Educational Paradigm and Practices — Repainting the Canvas with Innovative Strokes for
Collective Efficacy.

> Jan. 2021 International Organization of Social Sciences and Behavioral Research International Conference,
Winter Online Conference. Assimilating equity as a greater strength to serve 21st century education.

> Oct.2019 International Organization of Social Sciences and Behavioral Research International
Conference, Las Vegas, NV. Implications of Student Loan and Finance Management Skills of Undergraduate
Students.

> May 2019 10th IJAS International Conference for Academic Disciplines, Harvard University, Cambridge,
MA. Interplay of Individual Differences, Design Thinking, Educational Equity, and Social Justice: Bridging the
Gap Through: Applied Critical Leadership

> Mar. 2019 Educational Research, Humanities and Statistics Interdisciplinary Conference, Washington, DC.
Socially Responsive Educational Leadership in a Diverse Era: A Critical Review through the Lens of Social Justice
and Equity

> Oct. 2018. Managing Chaos: Tools to Set Priorities and Make Decisions Under Pressure, Chicago, IL.

> May 2018 9th IJAS International Conference for Academic Disciplines, Harvard University,
Cambridge, MA. Embracing Diversity: Core Adaptation Through Social Justice and Equity.

> Sept. 2017 Sth International Scientific Forum, Pembroke, NC. Navigating the Complexities of Cultural
Diversity and Effective Discipline in relation to Quality School Climate and School Leadership.

> July 2017 NOYCE Submit, Washington, DC — Poster presentation on Problem-Based Learning for Future
Teachers. Problem-Based Learning for Future Teachers.

> May 2017 8th IJAS International Conference for Academic Disciplines, Harvard University, Cambridge,
MA. Exploring the dynamics of self-identity development through the lens of Perceptual Educational
Environment.

> Feb. 2017 3rd Pan-American Interdisciplinary Conference, 2017 Buenos Aires, Argentina.
> Relooking at the Common Core Standards through the Lens of Equity — Closing the Achievement Gap.

> July 2016 NOYCE Conference, Washington, DC.

> May 2016 7th ISAS International Conference for Academic Disciplines, Harvard University, Cambridge, MA.
Investigating Perceived Self-Efficacy for Learning & Performance and Academic Control In Relation To The
Academic Stress Among Student.

> Apr. 2016 2nd Global Conference on Education, Research, & Policy, Washington, DC. Burnout among
Teachers: A Growing Concern.

> Mar. 2016 International Organization of Social Sciences and Behavioral Research International Conference,
Atlantic City, NJ. Probing the mediating effects of reattribution feedback on mastery orientation.

> Dec. 2015 9th International Conference on Teaching, Education and Learning, Bangkok, Thailand.
Manifestation of Stress among Teachers and their Mental Resilience.
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May 2015 6th LJAS International Conference for Academic Disciplines, Harvard University, Cambridge,
MA. Bodily-Kinesthetic Intelligence and the ability to control anxiety in relation to Healthy Fitness Zone: An
Exploratory Study.

Mar. 2015 NOYCE Conference, New York. Robert Noyce Teacher Scholarship Program.
Mar. 2015 ISS Expo & Conference. Atlantic City, NJ.
Dec. 2014 Facilitated Discussion as Inquiry (FDI) Workshop, Delaware State University

Oct. 2014 9th International Conference on Business and Education, Arlington, VA. Parental Awareness
on Prenatal Concerns: An Educational Perspective.

Oct. 2014 Annual Conference of DAHPERD, Dover, DE. Jmproving Body Mechanics and enhancing
concentration.

May 2014 5th LJAS International Conference for Academic Disciplines, Harvard University, Cambridge,
MA. Exploring the dynamics of psychomotor activities, in relation to body suppleness, movement time, and
body mass index.

April 2014 International Organization of Social Sciences and Behavioral Research International
Conference, Atlantic City, NJ. 4 Comparative Study of Wellness Perception and Attitude towards Physical
Activity among Active and Non-Active Youth.

Jan. 2014 International Multidisciplinary Academic Conference, Miami, Florida. Mental Toughness
and Concentration Skills among wrestlers performing at different performance levels.

Jan. 2014 International Forum for Students at Delaware State University Dover, DE.

May 2013 4th ISAS International Conference for Academic Disciplines, Harvard University, Cambridge,
MA. Balancing belligerence: An analytical approach to optimize performance in combative sports.

April 2013 International Organization of Social Sciences and Behavioral Research International
Conference, Atlantic City, NJ. Study of motor ability, perception, and proprioception among university freshmen.

Dec 2012 Fourth International Conference on Science in Society, University of California, Berkeley.
Nov. 2012 5th Annual International Conference, Pitesti, Romania.

July 2012 Third International Conference on Sport and Society, Cambridge University, Cambridge,
U.K.

May 2012 3rd IJAS International Conference for Academic Disciplines, Harvard University, Cambridge,
MA.

April 2012 International Organization of Social Sciences and Behavioral Research International
Conference, Atlantic City, NJ.

Aug 2011 Third International Conference on Science in Society, Catholic University of America, Washington
DC.

July 2011 11th Annual International Conference on Sports: Economic, Management, Marketing & Social
Aspects, Athens, Greece.
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May 2011 2nd Annual International Conference for Academic Disciplines, Harvard University, Cambridge,
Massachusetts.

Nov.2010 3rd Annual International Conference, Pitesti, Romania.

Oct. 2010 Annual Conference of DAHPERD, Dover, DE.

July 2010 14th World Congress on Comparative Education Societies, Istanbul, Turkey

May 2010 II International Conference, Singapore.

Oct. 2009 Professional Development Conference, DAHPERD, Dover, DE.

Nov. 2008 National Conference on Scientific Temperaments in Sports, Bhago Majra, India (2 Presentations).
Mar. 2008 National Seminar on Sports Exercise Health Connections, Chandigarh.

Nov. 2006 International Conference on Innovative Practicum in Teacher Education, Chandigarh, India.
Jul. 2005 International Symposium on Yoga in New Millennium and Sports Science, Varanasi, India.
Jul. 2005 UGC Inter-national Conference on Yoga, Sports Medicine & Yoga, Varanasi, India.

Mar. 2005 International Seminar on Hifzane Sehat Aligarh, India.

Jan. 2005 UGC Sponsored Series of Orientation, Govt. College for Men, Chandigarh, India.

Nov.2004 Seminar-cum-Workshop on Global Factors Influencing Education, Technology and Resources,
Chandigarh, India.

Oct. 2004 National Seminar on Hifzan-E-Sehat, Aligarh, India.

Dec. 2003 Seminar on Emerging Role of Teachers: Challenges and Perspective, Chandigarh, India.

»” Feb. 2003 National Conference cum Workshop on Sports & Society, Chandigarh (3 Presentations).

Jan. 2003 International Conference on Sports Sciences, Anantapur, India.

Feb. 2002 National Conference on Developing Linkages between RCI and Institutions for Disabled,
Chandigarh, India.

June 2002 Refresher Course. UGC & ASC Himachal Pradesh University, Shimla, India.
Oct. 2001 Refresher Course. UGC and ASC, Panjab University, Chandigarh, India.
Oct. 2000 National Conference on Sports Psychology, Haridwar, India.

Oct. 1998 International Congress on Management, Gwalior, India.

Oct. 1997 National Conference on Issues and Challenges in 21st Century, Panchkula, India.

May 1997 Inter State Conference on promoting Law & Business, Chandigarh, India.

Selected Seminars and Workshops Attended

1. May 2023 Attended & represented Edu Grad Programs at Delaware Superintendents Leadership Fair, Rehoboth, DE.

2. Oct. 2023 Participated in the Blended Coaching Workshop for Leadership Prep Programs.
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3. Mar. 2021: Center for Teaching & Learning Inclusive Teaching Workshop

4. Feb. 2021: Spring 2021 CAEP Conference - Success Through Continuous Improvement

5. Feb. 2021; Education Psychology, and Humanities International Conference, Virtual Conference

6. Feb. 2021: Council of Historically Black Graduate Schools Virtual Conference .

7. Jan. 2021: International Organization of Social Sciences and Behavioral Research Winter Online Conference.
8. Dec. 2020: Professional Development Workshop, Delaware State University
9.

Dec. 2020: Ist Educational Sciences Conference on 21st Century Education: Educational Reforms and
Global Challenges. ESJ

10. Oct. 2020: Workshop on interdisciplinary approaches to teaching about diversity in the Caribbean basin.
11. Sept. 2020: Think Tank on Equity Inclusion Conference

12. Mar. 2020: Co-Teaching Conference, West Orange, Newark, New Jersey.

13. Feb. 2020: Round Table Discussion on Organizational Trauma, HR, DSU.

14, Feb. 2020: Title IX Workshop Addressing Sexual Harassment/Sexual Violence, CLT, DSU.

15. Nov. 2019: Professional Development Management Seminar, Delaware State University, Dover, DE

16. Nov. 2019: Professional Development Workshop, Delaware State University, Dover, DE

17. May 2019: 10th International Conference for Academic Disciplines, Harvard University, Cambridge, MA
18. Mar 2019: Educational Research, Humanities and Statistics Interdisciplinary Conference, Washington, DC

19. Oct. 2018: 14th Annual TCOM Conference on Transformational Collaborative Outcomes Management,
Chicago, IL.

20. Oct. 2018: Managing Chaos: Tools to Set Priorities and Make Decisions Under Pressure, Chicago, IL.
21. May 2018: 9th IJAS International Conference for Academic Disciplines, Harvard Uni., Cambridge, MA
22. April 2018. Campus Compact Mid-Atlantic. UD, Newark, DE

23. Mar. 2018: Advancing Women in Leadership Conference, Azusa Pacific University, CA

24. Sept. 2017: 8th International Scientific Forum, Pembroke, NC

25. July 2017: NOYCE Submit for NOYCE delegates’ presentation of research, Washington, DC

26. May 2017: 8th IJAS International Conference for Academic Disciplines, Harvard Uni., Cambridge, MA.
27. Apr. 2017: Inaugural Delaware State University Day, DSU, Dover, DE.

28. Mar. 2017: DSU Climate Change Education Symposium, DSU, Dover, DE.

29. Feb. 2017: 3rd Pan-American Interdisciplinary Conference, 2017 Buenos Aires, Argentina

30. Nov. 2016: Annual 2016 Management Seminar, DSU, Dover, DE.

31. Nov. 2016: Title IX Training. Delaware State University, Dover, DE

32. Oct. 2016: Delaware Association for HPERD Annual Convention, Dover, DE.
Case 1:24-cv-00777-UNA Document 1-1 Filed 07/02/24 Page 29 of 101 PagelD #: 46
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33. Sept. 2016: CAEP Conference, Washington, DC.
34, May 2016: 7th JAS International Conference for Academic Disciplines, Harvard Uni., Cambridge, MA.
35. Apr. 2016: 2nd Global Conference on Education, Research, and Policy, 2016 Washington, DC.

36. Mar. 2016: International Conference (International Organization of Social Sciences and Behavioral
Research International Conference 2013, Atlantic City, NJ

37. Dec. 2015: 9th International Conference on Teaching, Education & Learning, Bangkok, Thailand.

38. May 2015: 6th IJAS International Conference for Academic Disciplines, Harvard Uni., Cambridge, MA.
39. May 2015: The Delaware State University Annual Data Day, Dover, DE

40. Mar. 2015: LEAD Conference, Delaware State University, Dover, DE

41. Mar. 2015: NOYCE Conference, New York.

42. Mar. 2015: ISS Expo & Conference. Atlantic City, NJ

43. Oct. 2014: 9th International Conference on Business and Education, Arlington, VA

44. May 2014: IJAS International Conference for Academic Disciplines, Harvard, Cambridge, MA.

45. Apr. 2014: International Organization of Social Sciences and Behavioral Research International Conference
Atlantic City, NJ.

46. Mar. 2014: 2nd Annual Weight Management Strategies Conference, DSU, Dover, DE
47. Jan. 2014: International Multidisciplinary Academic Conference at Miami, Florida

48. Jan. 2014: Interactive Activities during International Multidisciplinary Acadeniic Conference at Miami,
Florida

49, Aug. 2013: MADE CLEAR Delaware State University Faculty Development Workshop.

50. July 2013: The 2013 MADE CLEAR Climate Science Academy at Lewes, Delaware.

51. May 2013; JAS International Conference for Academic Disciplines, Harvard Uni., Cambridge, MA.
52. May 2013: Data Day Workshop — Engaging in Change through Assessment. Delaware State University.
53. May 2013: NCATE Workshop, Education Department, Delaware State University.

54. April 2013: International Organization of Social Sciences and Behavioral Research International
Conference, Atlantic City, NJ.

55. April 2013 Emancipation Symposium organized by Delaware Historical Society at Delaware History
Center, Wilmington, Delaware

56. Jan.2013: Workshop on 2012-13 Academic Year Master Teacher Program. College of Education, Health, and
Public Policy, DSU, Dover, DE

57, Dec 2012: Workshop on Linking for Authentic Learning. Center for Teaching and Learning, Delaware State
University, Dover, Delaware.

58. Nov.2012: 5th Annual International Conference, Pitesti, Romania.
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59. Oct. 2012: Annual Conference of Delaware Association for HPERD, Dover, DE and acted as a Presenter.

60. Sept.2012: Using Smart Boards to Enhance Teaching & Learning Training. Center for Teaching &
Leaming, DSU, Dover, DE

61. July 2012: Third International Conference on Sport and Society, organized at Cambridge University,
Cambridge, U. K. Virtual Participation.

62. May 2012: IJAS International Conference for Academic Disciplines Harvard Uni., Cambridge, MA.

63. May 2012: Workshop on Promotion and Tenure, Center for Teaching and Learning, Delaware State
University, Dover, Delaware.

64. May 2012: Attended Stewards of Children Training, Delaware State University, Dover, Delaware.
65. May 2012: Plato Workshop by ETS, Delaware State University, Dover, Delaware.

66. April 2012: International Organization of Social Sciences and Behavioral Research International
Conference organized at Atlantic City, NJ.

67. Mar. 2012: Workshop on Designing and Using Rubrics for Assessment. Center for Teaching & Learning,
Delaware State University, Dover, Delaware.

68. Aug 2011: Third International Conference on Science in Society held at the Catholic University of
America, Washington DC.

69. July 2011: 11th Annual International Conference on Sports: Economic, Management, Marketing & Social
Aspects, Athens, Greece.

70. May 2011: 2nd IJAS Conference at Harvard University, Cambridge, Massachusetts.

71. May 2011: Workshop on Continuing Education, Delaware State University, Dover, Delaware.

72. Feb. 2011: International Conference on Sport and Society, Kolkata, India.

73. Nov.2010: 3rd Annual International Conference, Pitesti, Romania.

74, Oct. 2010: Annual Conference of DAHPERD and acted as a Presenter.

75. July 2010: Annual Conference of NCPERID, Washington DC

76. July 2010: 14th World Congress of World Council of Comparative Education Societies, Istanbul, Turkey
77, May 2010: Ill International Conference of Sports Sciences, Singapore

78. Mar. 2010: International Conference on Sport and Society, Vancouver, Canada. Virtual Participation.
79. Oct. 2009: Professional Conference of DAHPERD, Dover, DE

80. Oct. 2009: Academic Advisement Committee Workshop, Delaware State University, Dover, Delaware.
81. Oct. 2009: Praxis I and II Workshop by ETS, Delaware State University, Dover, Delaware.

82. May 2009: Faculty and Staff Development Workshop: Syllabi Review, Alignment and TK 20 Tabs.
Delaware State University, Dover, Delaware.

83. Oct. 2008: Professional Development Conference, DAHPERD, Dover, DE
84. Nov. 2007: The Self-aware Sport Psychologist: Workshop of British Association of Sport and Exercise
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Sciences, Brunel University, London, U.K.

85. Oct. 2007: Emotional Intelligence and Coping among Sports Students: Workshop of British Association of Sport
and Exercise Sciences, Wolverhampton University, U.K.

86. Sep. 2007: Annual Conference of British Association of Sport & Exercise Sciences, Bath University, U. K.

87. Nov. 2006: International Conference on Innovative Practicum in Teacher Education, Dev Samaj College of
Education, Chandigarh, India.

88. Feb. 2006: Seminar-cum-Workshop on Quantitative and Qualitative Research and use of SPSS Package:
Department of Education, Panjab University, Chandigarh.

89. Jul. 2005: International Symposium on Yoga in New Millennium and Annual Meet, Banaras Hindu University,
Varanasi, India.

90. Mar. 2005: International Seminar Aligarh Muslim University, Aligarh, India.
91. Mar. 2008: National Seminar on Sports Exercise Health Connections, Chandigarh.

92. Nov. 2004: Seminar-cum-Workshop on Global Factor Influencing Education, Technology and Resources:
D. S. College of Education, Chandigarh, India.

93. Oct. 2004: National Seminar on Hifzan-E-Sehat, Aligarh Muslim University, India.

94. Jun. 2004: Seminar on Management of Hostel for Visually Impaired Children: Institute for the Blind,
Chandigarh, India.

95. Jan. 2004: Indian Science Congress Association, Panjab University, Chandigarh, India.

96. Dec. 2003: Seminar on Emerging Role of Teachers: Challenges and Perspective: Panjab University,
Chandigarh, India.

97. Nov. 2003: Workshop on Transformation of Print Materials into Self-Leaming Materials: Department of
Correspondence Studies, Panjab University, Chandigarh, India.

98. Mar. 2003: Workshop on Experimental Design and use of SPSS package: Department of Education, Panjab
University, Chandigarh, India.

99. Feb. 2003: National Conference cum Workshop on Sports & Society, Panjab University Chandigarh, India.
100. Jan. 2003: International Conference, S. K. University, Anantapur, Andhra Pradesh, India.

101. Mar. 2002: 6th National Conference on Developing Linkages between RCI and Institutions for Disabled, Indian
National Portage Association, Chandigarh, India.

102. Oct. 2000: National Conference on Sports Psychology, G. K. University, Haridwar, India.
103. Apr. 1999: Seminar cum Workshop on Micro Teaching: D. S. College of Education, Chandigarh, India.

104. Feb. 1999: Seminar cum Workshop on Quality Teacher Education, NCTE Curriculum Framework: D. S.
College of Education, Chandigarh, India.

105. Dec. 1998: International Congress on Management of Phy. Edu. & Sports, Gwalior, India.
106. Oct. 1997: National Conference on Issues and Challenges in 21st Century, Panchkula, India.
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107. Oct. 1997: Green Teacher Training Workshop: Centre for Environment Education (North) and Punjab State
Council for Science & Technology, India.

108. May 1997: Xth Annual Conference of All India Association for Educational Research, Chandigarh, India.

109. Mar. 1997: Seminar cum Workshop on Education for Human Rights, D. S. College of Education,
Chandigarh, India.

110. Jan. 1996: Seminar on Teachers & Eradication of Child Labor: All India Federation of Teachers

Organization.

111. Mar. 1996: University Grants Commission sponsored National Seminar cum Orientation Course in
Research Methodology: Organized by the Department of Education, Panjab University, Chandigarh.

112. 1986: All India Seminar on Selection & Training in Sports, Chandigarh, India.
Professional Affiliation/Membership
Invited Member, World Education Research Association (WERA).

Associate member of International Research Networks on Research-Informed Education, 2022
Member, The International Society for Justice Research (ISJR)
American Association of Colleges for Teacher Education — since 2014

Associate Advisor, Chandigarh Company Sports Association affiliated to Indian Company Sports Federation and

recognized by Company Sports Federation of Asia — since 2011
National Consortium (NCPEID) — since 2010
American Association of University Professors — since 2011
Indian Society of Sports Anthropometry — since 2005
Indian Society of Sports Scientists since — 2005
Indian Association of Sports Scientists— since 2004
All India Association for Educational Research — since 1995
Advisor, Dodge Ball Asso. of Chandigarh, affiliated to Dodgeball Association of USA — since 2005
Program Coordinator, American Educational Research Association’s (AERA) Doctoral Student Cohort Program.
International Honor Society in Education KAPPA DELTA PI — from 2009
British Association of Sport & Exercise Sciences — from 2007

University, College, and Department Committee Service at Delaware State University

University Level

2022 Member, May Commencement Committee, Delaware State University

2021 Nominated as Member DSU Excellence Awards Committee
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2021 Member of the DSU Diversity & Inclusion (D&I) Council

2021 Member of DSU Promotion & Tenure Committee

2021 Member, Graduate Council since 2019

2021 Middle States Self-Study Standard -1 Working Group, Delaware State University
2020 May Commencement Committee, Delaware State University

2021 DSU Diversity & Inclusion Task Force — since 2017

2019 DE&I Unity Day Organizing Committee, Delaware State University

2019 DE&I Programming Committee, Spring Fling Carnival

2019 Member, Graduate Studies and Research Advisory Committee — since 2015

2019 Co-Chair, DSU Academic Committee

2021 Member of University Academic Affairs Committee — since 2012

2021 Member of DSU WMGS Work-group Advisory Committee — since 2011

2018 DE&I Unity Day Organizing Committee, Delaware State University

2016 Appointed as Internal Reviewer, DSU (Self Study) — from 2014

2015 Member, International Edu. Sub-Committee of Faculty Senate ~ from 2011

2014 Nominated, Member of University Excellence Awards Committee — from 2013
2014 Member of University Faculty Senate — from 2011

2012 Member of University Cultural and Special Events Committee — from 2011
Special Appointment by the Provost. DSU

2018 Peer evaluation, Movement Science Department faculty — since 2015

2018 Peer evaluation, Dept. of Public & Allied Health Sciences — since 2015

2015 Member, Promotion & Tenure Committee, Department of Public and Allied Health Sciences — since 2014
College of anities, Education and ences (CHESS

2021 Member, Council for Professional Education 2021 Member, College Curriculum Committee
2021 Member, CPE Diversity Committee

2018 Member, Council for Professional Education since 2015

2018 Education Dean’s Leadership Committee — from 2015

2017 Battle of Colleges Committee - from 2016
Case 1:24-cv-00777-UNA Document 1-1 Filed 07/02/24 Page 34 of 101 PagelD #: 51
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2020 Member, College Curriculum Committee - from 2014
2017 Member, College Diversity Committee- from 2014
Education Department
2021 Co-Chair, Advanced Programs Community Advisory Committee
2021 Chair, Education Graduate Committee — since 2014
2021 Member, Bye Laws Committee, Education Department — since 2010
2021 Member, Curriculum Committee, Education Department — since 2009
2021 Member of Personnel Committee, Education Department — since 2013
2021 Member Department Assessment Committee — from 2014
2020 Chair, Personnel Committee, Education Department from 2019
2015 Chair, Bye Laws Committee, Education Department — from 2010
2014 Member, Strategic Planning Committee— from 2009
2014 Chair, Curriculum Committee, Education Department — from 2013
2013 Member of NCATE Standards Data Collection Committee of Education Department for Standard 4 — from 2012
2012 Member, Education Department Undergraduate Scheduling Committee 201 |

2012 Member Exhibit Room Committee, NCATE focused Visit.

Community Service

+

2021, Voluntary Contribution to Activities for the Delaware State University Research Day.

ae

2021, Virtual Voluntary Outreach Activities for the prospective students through Open Houses, Career Fairs
2021, Voluntary Community Service to Bhakti Yoga Society of Delaware, Krishna Village— since 2018

“le
+ 2021, Community Outreach Services through Gurdwara of Delaware in Middletown, Delaware — since 2016

4:

2020, Member of Organizing Team, Diversity & Inclusion Kick Off Event

+ 2020, Co-Chair, Advanced Programs Community Advisory Committee, Education Department
2019, Member of Organizing Team, Unity Day, DSU
2019, Volunteered as a Guinness World Record Steward, Fall Open House, DSU

+ 2019, Member Organizing Committee, Spring Fling Carnival, DSU

*+ 2019, Open Houses & Career Fairs, Graduate School, DSU

+ 2019, Participated in the American Heart Fundraising event, Dover, DE

*+ 2018, Volunteer Member of Autism Society, Delaware, USA — since 2011
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2018, Member, Organizing Committee, DSU Annual Diversity Day
2018, Open Houses & Career Fairs, Graduate School, DSU since 2018
2018, Service during Delaware State World Class FLL Competition — since 2013

2016, Service during Delaware Peace Week - Peace & the Spoken Word, and Presented on Women and
Voices from Partition of the Indian Subcontinent, Newark, DE

2016, Participated in the fund-raising Heart Walk organized by Health and Fitness Leaders
Organization, Dover, DE

2016, Service as a Guest Speaker during Annual Women’s Conference organized by the
2016, Embracing Your Inner Woman Ministries, Dover, DE
2015, Secretary Finance, Sambhang Theater Group; A Society of Performing Art — from 2004

2014, Member Organizing Committee, 2nd Annual Weight Management Strategies Conference 2014,
Delaware State University, Dover, DE.

2014, Promoting Integration: Inclusion of Special Children from Charlton School for Special Children in
regular physical activity course at Delaware State University, Dover, DE.

2014, Service to Boys & Girls Club FLL, and Jr. FLL teams of Explorer’s Club, DSU — from 2013
2013, Participated in American Heart Association National Walk on April 3, 2013

2012, Member of Organizing Committee for organizing the Special Olympics, Basketball Skills Event
organized in Delaware State University, Dover, Delaware — from 2009

2009-2011 - Also served in this capacity for organizing the Special Olympics, Basketball Skills Events
organized in Delaware State University, Dover, Delaware during these years.

2011, Volunteer Member for Delaware Association for Blind Athletes — from 2010

2009, Outstanding Service during Health Fair organized by McIlvaine Early Childhood Center, Dover,
Delaware.

2006, Joint Secretary of Chandigarh Swimming Association for Disabled from 2005

2002, Member of Cultural Program Committee and Publicity Committee, 6th National Conference
organized by Indian National Portage Association.

2000, Appointed as an Advisor, International Students Festival organized in Panjab University,
Chandigarh, India.

1999, Member of Social Service Club of D. S. College of Education, Chandigarh — from 1994
1996, Participated in Cycle Rally organized by Blood Bank Society, Chandigarh, India.

+ 1994, Extension services for blind & children with other disabilities in Chandigarh, India from time to time.
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Exhibit 4
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In this photo:

The Graduate Education Program — which includes the Master and Doctoral Educational Leadership Programs — have
experienced tremendous growth in enrollment over the last eight years.

On Campus

|The strong growth of University Graduate Education Program
| Friday, September 23, 2022

Multiple efforts to improve and expand Delaware State University’s graduate education programs are
proving successful, with enrollment up 729 % over the past eight years.

https://www.desu.edu/news/2022/09/strong-growth-university-graduate-education-program-0 4/6
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Under the leadership of Dr. Nirmaljit Rathee, Director of Education Graduate Programs, the

department has undergone transformational change, with an updated quality curriculum, increased
practicality of the degrees, intensive internship experiences, and equitable policies and practices.

“The goal is and has always been, to provide a cutting-edge platform where a diverse community of
students can thrive and achieve excellence in their respective fields,” said Dr. Rathee. “Without a
doubt, | owe a great debt of gratitude to the administration, graduate faculty, office staff, and
graduate students for their unflinching encouragement and support.”

Dr. Rathee has been serving Delaware State University for more than a decade and currently holds
the rank of Professor and the position of Director of Education Graduate Programs. Performing dual
roles, she has guided more than 52 students through their doctoral research and has led an
incredible growth in graduate student enrollment, retention, and success in the Programs.

She has written 12 books, more than 55 research publications, and received numerous awards and
grants. Recently, she has contributed a chapter to the book titled Young, Gifted and Missing: The
Underrepresentation of African American Males in Science, Technology, Engineering, and
Mathematics Disciplines, and she is working on writing a book on equity-based leadership practices.

Equity-based leadership practices are woven into the Education Graduate programs at Del State,
which offers a Doctoral and Master’s degree in Educational Leadership, where students are trained

and prepared to become transformational, culturally responsive leaders for equity, diversity & social
justice to eradicate systemic and systematic barriers to progress the world’s most vulnerable and
marginalized youth and their families.

The doctoral Program offers two concentrations, i.e., K-12 and Higher Education. The K-12

concentration prepares the candidates as effective administrators and equity practitioners who can
articulate a vision for public schools, interact with curious minds, and implement cutting-edge

research practices and technology to develop a new vision of education for the diverse society.

The Higher Education concentration equips candidates
with a knowledge base & skillsets conducive to effective
organizational administration, policy development,
strategic innovations, and social justice advocacy related
to post-secondary institutions. Courses are conducted in
an accelerated weekend, hybrid virtual format.

Working with Dr. Shelley Rouser, chair of the Education
_ Department, Dr. Rathee and her team made numerous
_ changes to the curriculum.

A Professor talking with a graduate
student

“Dr. Rathee has led the department through a tremendous transition over the past few years,
- curriculum revisions, entirely new programs, new hybrid delivery methods, and refining processes for

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greater effectiveness and efficiency,” said Dr. Rouser. “It is incredibly exciting to see the changes Dr.
Rathee and the graduate team make such a tremendous impact on our students - because of her
leadership rapid growth has never sacrificed quality delivery - the support students receive is second
to none.”

Dr. Rathee envisioned and implemented innovative programmatic changes to develop the next
generation of transformational educational leaders who are the first choice of employers. The
student's success is acclaimed not only in the state of Delaware but across the nation.

She has been able to introduce a culture of excellence in research, theory, and practice to prepare
dynamic leaders and critical thinkers of the 21st century who are culturally responsive and discerning
practitioners, equipped with a repertoire of new era leadership skills to serve diverse community and
profession with equity, care, competence, and commitment.

To better reflect current educational trends and student needs, Dr. Rathee collaborated with Dr.
Bluemel, chair of the Department of Languages and Literatures to establish a dual degree program
of M. Ed. and MA TESOLJ/Bilingual Education. She also played a prominent role in launching a new
master’s Program in Equitable Curriculum and Instructional Leadership,

Dr. Rathee, her faculty, and staff have redesigned the curriculum sequence and have reinvigorated
the internship experience. Outdated assessments have been replaced with ones that are in
accordance with national professional standards. Their efforts resulted in receiving National
Accreditation from the Council for the Accreditation of Educator Preparation (CAEP) for seven years.

Dr. Rathee said to improve student achievement; advisement was a top priority to ensure each
student's graduation on time.

All of the work of Dr. Rathee was not lost on students. “I could feel all of the differences,” said Dr.
Tanna Jackson, who began at Del State in 2013 and witnessed changes to the Program. “Dr. Rathee
transformed the whole Program, creating structure and substance so we could hone in on our craft.
Her attention to detail and care and concern for the students was very present.”

Now director of special education at the Children’s Guild Charter School in Washington, D.C., Dr.
Jackson said she served on the Education Advanced Programs Advisory Committee to assess where
the Program was and where it should go. “Dr. Rathee was very transparent about her goals and
ambitions, and she brought the voice of students to the forefront to guide her actions.”

The future Icoks bright for the Program as well, and Dr. Rathee is well on her way to meeting her
| goal of enrolling about 500 students by 2025, representing a massive 1371% increase in student
| enrollment compared to 2014.

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One student said he believes the Program could serve many in his native country. Dr. Han Fang,
who lives in Chang Chun City in Northeastern China, began the Program online in 2020 through a
partnership with his home university. “Many teachers and administrators in China would benefit from
the program,” he said.

Dr. Fang also had high praise for Dr. Rathee’s program leadership. He appreciated the spirit of all
and felt inspired by the leadership and stimulating learning environment. “The professors are
extremely helpful and supportive,” he said. “I wanted to leam leadership skills. From the knowledge
and expertise of the professors, | think | have learned a lot.”

REGENT NEWS

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DOCTOR OF SOCIAL WORK LAUNCHED AT DSU

Friday, December 15, 2023

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DSU RESEARCHER'S GUN POSSESSION RESEARCH FINDINGS RELEASED

Wednesday, December 13, 2023

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DSU RECEIVES $300,000 GRANT FOR MICROALGAE RESEARCH

Wednesday, December 13, 2023

PLENARY SRT DT

2023 UNIVERSITY SCHOLARSHIP BALL - ARTICLE & PHOTOS

Tuesday, December 12, 2023

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Sitemap

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Dover, DE 19901
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Evening: 302.857.6290

Request Info
Campus Map
Directions

Wesley Questions

Delaware State University was founded in 1891 and is accredited by the Middle States Commission on Higher
Education. Its main location is in Dover, yet DSU offers courses throughout the state of Delaware.

Equal opportunity employer/program and auxiliary aids and services are available upon request to individuals with
disabilities.

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Exhibit 5
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DSU enrollment bumps up record for 2023

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2023/)2023/) 608xSCD pa A8R2)Atitle=PSU+enrollment+bumpstup+record+for+2023)

The state's only histori Black y d that 6,451 i have Med for fall 2023, a bump of 3.5% from last year's student body. | DBT PHOTO BY JACOB OWENS

DOVER — Delaware State University (https://www.desu.edu/) continues to make strides to hit 10,000 students by 2030, and its most recent enrollment
numbers continue to break its previous record.

The state's only historically Black university announced that 6,451 students have enrolled for fall 2023, a bump of 3.5% from last year’s student body.
Fall 2022 was a historic semester for DSU (https://delawarebusinesstimes.com/tag/delaware-state-university/), as it saw more than 6,000 students
for the first time in its 130-year history.

https://delawarebusinesstimes.com/colleges-and-universities/dsu-enrollment-record-for-2023 1/4
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bumps up reco
“The race for talent is on, and we have to be prepared to meet our Students where they are,” DSU,cresident Tony Allen said in a statement. “If the
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pandemic has taught us anything, it is that a full portfoliqiefauatitvinducatinnalafteringsaraw ways to learn in and outside of the traditional classroom,
and a commitment to educating and training students who look like the smaller, more connected world we are becoming is the key to long-term

success. We feel very good about our trajectory.”

During a September DSU Board of Trustees meeting, Allen reported that about 1,800 freshmen and transfer students enrolled, marking it the largest
class to arrive at the university to date. In 2022, DSU celebrated a record 1,400 first-year class.

Of the 750 first-year, in-state students, 79% are INSPIRE Scholars. The INSPIRE program has helped thousands of Delawareans attend college, with
more than half of its recipients from Kent and Sussex counties, which has both the smallest population of Delaware's three counties and the lowest
bachelor's degree attainment rate. In 2021, the program was expanded to cover the entire four-year program for a student.

However, Allen was cautiously optimistic about the enrollment figures, noting that college enrollment has continued to drop over the last 11 years. For
the first time since the COVID-19 pandemic started, the National Student Clearinghouse Research Center
(https://www.studentclearinghouse.org/undergraduate-enrollment-grows-for-the-first-time-post-pandemic-despite-freshmen-declines/) found that
undergrad enrollment has increased — though not by much. Initial fall 2023 undergrad enrollment nationwide is up 2.1% from the previous year and is
1.2% above 2021 enrollments.

“We have overcome some notable trends in higher education,” Allen said in the press statement. “As we have seen impressive growth in our enrollment
since 2017, we have also seen the national trend going in the other direction. We continue to monitor the falling rates of college attendance nationwide
and the steady declines in high school graduates due to lower birth rates in the United States.”

In addition to growing its undergraduate class, DSU has boosted its graduate student profile by 7% to nearly 900 students and an online student body of
800 students — more than 40% come from the Caribbean.

Allen told the DSU Board of Trustees earlier this fall that DSU has just under 500 students in Jamaica, a program that sprung from a hybrid learning
project launched in January 2020. In August 2022, the first cohort of Jamaican graduate students received diplomas. Last year, the Jamaica program
expanded with an associate degree program.

“Those students are quite passionate. They are mostly graduate programs, such as master’s and doctorates in education,” Allen told the board in
September. “So these folks are actually professionals, some of which are senior professionals in the country.”

The enrollment figures come at welcome time, as it confirms DSU's status as a rising institution in higher education. The U.S. News & World Report's
2024 Best Colleges list placed DSU as the third public HBCU in the country and the ninth overall, tied with Claflin University. Retention is a key figure
measured in these rankings, alongside factors like graduation rates and social mobility.

Mirroring this growth, DSU has also announced it would be raising tuition to $8,538 annual tuition cost, or $10,953 total with required added fees.
Delaware's HBCU would still be lower than other in-state schools and other nearby HBCUs like Morgan State University, University of Maryland Eastern
Shore, Cheyney University of Pennsylvania, and Lincoln University.

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“Exhibit 6
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DELAWARE STATE UNIVERSITY

‘Oflize of Academic Affairs

Dr. Nirmaljit K. Rathee, Professor

Department of Education

College of Humanities, Education, and Social Sciences (CHESS)
Delaware State University (DSU)

FROM: Dr. Emily Williams, Vice Provost for Academic Affairs

Acting Dean, College of Humanities, Education, and Social Sciences (CHESS)
DATE: December 18, 2023
RE: Removal as Graduate Program Director in the Department of Education

Your appointment as Graduate Program Director is under Dr. Shelley Rouser’s purview as De-
partment Chairperson of the Department of Education at Delaware State University. The details
of this appointment are supported by Article 12.2.7.1S of the current Collective Bargaining
Agreement (DSU CBA, 2016-2021) which notes that administration of graduate programming is
under the purview of the Department Chairperson.

Dr. Rouser has informed me of a serious academic integrity violation [blatant plagiarism] that
occurred under your purview as Graduate Program Director. Specifically, an Ed.D. student was
allowed to sit for a dissertation proposal defense even though large portions of her proposal were
demonstrably lifted from a Walden University dissertation approved in 2016.

In your role as a dissertation committee member but, moreover, in your role as Graduate Pro-
gram Director you did not provide the required high-level overview of the process and the pro-
posal before it was presented for defense by the student. In fact, it was one of the dissertation
committee members who ‘discovered’ plagiarism. It was after that ‘discovery’ that you took ac-
tion to have reparative measures put in place; however, you never informed the Department
Chair, Dr. Rouser.

Please refer to the language in the DSU Graduate Catalog (p. 31), which reads:
Any faculty observing any graduate student involved in academic misconduct should submit a memoran-
dum summarizing the alleged infraction(s) along with any documentation and proposed sanctions in writ-
ing to the student, copying the Department Chair, the Graduate Program Director, the Dean of the Aca-
demic unit in which the infraction occurred, and the Dean of Graduate, Adult and Extended Studies within
24 hours of the alleged infraction.

In your role as Graduate Program Director, you [were] still a faculty member serving in an ap-
pointed capacity. As such, you had the responsibility to notify all of the entities listed above of
the academic integrity/plagiarism of the student. The first major concern is your foundational
failure to contact the student and the Department Chair within the requisite 24 hours of the al-
leged infraction. (Another committee member informed Dr. Rouser while the student was not in-
formed until Dr. Rouser did so.)
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It is unclear whether you understand the importance of academic integrity and what a serious ac-
ademic breach this would cause for the university if the student graduated, and later significant
passages of her dissertation were found to be plagiarized.

In a November 8, 2023, email correspondence with Dr. Rouser, you assert, “[I] would like to em-
phasize that this matter [plagiarism; insertion, mine] relates to a proposal when the research had not
even begun and not to the final dissertation.”

Dr. Rathee, it is important for you to understand that all aspects of graduate students’ work at
Delaware State University — course work, proposals, dissertations, and oral defenses — must
abide by Delaware State University’s Academic Integrity Policy.

On November 10, 2023, you received notice from the Office of Human Resources of Adminis-
trative Paid Leave for a separate matter under the auspices of Title [X. During this period, I dis-
covered that you did not have graduate school files (student records, et.al.) in a shared drive ac-

cessible to the Department Chair and other faculty members as designated by the Department
Chair.

This placed the department in significant jeopardy with the continuity of the day-to-day pro-
cesses in providing high quality and consistent service to our current students as well as informa-
tional data for graduates and program specific reporting.

To begin immediate reparative measures, I established an email account for you to send docu-
ments [to me] that you had held [apparently no one else in the department had access to these
materials] so I could transmit them to the Department Chair to continue operations in terms of
teaching, academic support, and information/data in the graduate program.

For these past five weeks [since November 10, 2023], the graduate level work of the Department
of Education under the leadership of Dr. Rouser has been one of piecing together information
due to your failure to appropriately provide access to institutional data to the departmental lead-
ership. There remain materials that you still have not provided access to as of this writing.

In aggregate, these situations are not suitable for the leadership necessary for the Graduate Pro-
gram Director within the DSU Department of Education.

Article 10.4.2 of the DSU CBA notes that disciplinary action be initiated for failure of unit mem-
bers to perform professional responsibilities consistent with University policies and procedures.
Article 10.4.4 of the DSU CBA notes that sanctions should be related to the nature of the infrac-
tion. The sanctions for disciplinary infractions can include removal of [an] appointed position.

Article 3.4 of the DSU CBA notes that Academic Deans are administrators responsible to the
President through the Provost. Academic Deans have the overall responsibility for the admin-
istration and supervision of academic programs in their respective units.
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In my role as Acting Dean of CHESS, I am, therefore, removing you from the position of Gradu-
ate Program Director within the Department of Education. This removal is effective immedi-
ately, December 18, 2023.

Dr. Rathee, you will return to the faculty at your current rank as full professor with tenure. I ask
that you report to Dr. Shelley Rouser, Department Chair of Education, not later than Wednesday,
December 20, 2023, to secure your teaching assignments for Spring semester 2023 with a return
to work on the first teaching day of the 2024 Spring Semester.

cc: Saundra F. DeLauder, Ph.D., Provost and Chief Academic Officer
Shelley Rouser, Ed.D., Department Chair of Education
LaKresha Moultrie, Esq., General Counsel and Vice President of Legal Affairs
Irene Hawkins, Ed.D., Interim Executive Vice President and VP of Human Resources
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Exhibit 7
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CBA Totality and Scope of Agreement Statements

This Agreement constitutes the entire negotiated Agreement between the University and the
Association and supersedes any previous regulations, faculty contracts, previous practices or
policies, which may be in conflict with the expressed terms of this Agreement. This Agreement
shall constitute the only Agreement for all members in the bargaining unit and the University.

22.1

This Collective Bargaining Agreement represents the complete Agreement between the
parties and supersedes any and all prior Agreements, understandings, customs, and practices.
This is a fully integrated agreement. The parties further acknowledge their mutual right during
the term of the Agreement to initiate good faith negotiations on any matters of concern.

23:4

Definition — Academic Director

“\cademic Director” refers to a unit member who is the functional head of an Academic
36 Support Center or Program, €.g., Black Studies Program, Honors Program, Counseling Center.

All references in this Article to Department Chairpersons shall also apply to Academic

19.2.10 Directors and the Head Librarian.

Basically, all of the references to the academic director and corresponding roles, responsibilities, and
authority have been violated.

| have gone over them in the sections in this document. Dr. Rouser and the administration have always
ignored the clauses related to the Academic Director every time | bring it to their attention. Not only that,
they forcefully go against what is in the CBA just so that it can fit their agenda. Even when the CBA clauses
are brought to their attention, they deliberately ignore them and don’t answer, simply continuing with what
they want to do regardless.

Overall, the main theme has been that | need to do all the work regardless of the circumstances (staying
awake until 4-5 am iri the morning, working 18-20 hours a day, 7 days a week). When it came to the
decision-making role of the academic director for the program functioning, | was deliberately stopped,
specifically due to interference from Dr. Rouser, as she wanted to take the important decisions for my
program without regard for my input.

Please refer to the email below {left column), where Dr. Rouser wrote to me “All of our graduate programs
are part of the Education Graduate Program technically: MA,MAT/ARTC, MEd, EdD. However, they are not
all managed by one person (you)...”. On what basis or authority was she deciding this and why DSU
administration was allowing this to happened?

She further writes, “..but instead with other members of the team, including the new K12 and Higher
Education Associate Professors/Coordinators.”

2023-02-28 Dr 2023-03-21 Dr
Rouser saying progra Rouser considers dire

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| didn’t notice it back then, but | am noticing it now, that given this statement and what happened to me and
what was happening behind the scenes while | was on admin leave (Dr. Sasso making himself the in charge
of the Higher Education program), Dr. Rouser had already decided at that time (back in February 2023) the
Education Graduate Program would be managed by Coordinators and not by the Director.

Were Dr. Rouser and the DSU administration using me like a farm animal to run the successful Education
Graduate program of 400 students all by myself without secretary or coordinators throughout the 2023
until the coordinators arrived and then removed me from director?

This aligns with the actions that Dr. Rouser took when the new faculty/coordinators joined Fall 2023, Dr.
Rouser deliberately made sure that she organizes the onboarding meeting for them, make their progress
reports reportable to her, despite my objections. Perhaps all these false allegations were planned all along.

Whenever | brought up such issues by Dr. Rouser to HR’s or administration’s attention, instead of
understanding the points | was raising, they simply referred to Dr. Rouser as my supervisor and ignored any
reference to the CBA or my role and experience.

In the above table is an email from Dr. Rouser (right column), which shows that Dr. Rouser considers the
Director equivalent to the coordinator. You will also note in this email the dislike she harbors for me. Please
also note that, when | was on administrative leave, Dr. Rouser appointed Dr. Tina Mitchell (her close friend)
and the coordinator of the MAT program as the interim director of the Education Graduate Program. This
further corroborates that Dr. Rouser considers the Director position equivalent to the coordinator position. |
am against this because the Education Graduate Program already has significantly experienced and senior
faculty such as Dr. Joseph Falodun, who had previously served even in the position of full-time Dean at DSU
and thus would have made a great interim director to run the program due to his deep program knowledge
while | was on leave. Yet, Dr. Rouser chose to keep the person she preferred and is her friend, and the DSU
administration and HR simply went along with it and didn’t object.

When | joined as the Director, the Program was in very bad shape, and | worked hard to first make the
Education Graduate Program fully accredited at an advanced level, removing any stipulations or Areas for
Improvement (AFls) that the Education Graduate Program initially had. Kindly see below the congratulations
email from the college Dean in 2019 when | had shared the news regarding the accreditation (PDF on left).
One of the statements is, “You have been a wonderful leader for the graduate program, and! am not
surprised at this tremendous success!” The PDE on the right shows the CAEP consultant's email that
indicated the Education Graduate Program became fully accredited with no stipulations and no AFls. In
contrast, please note that the initial programs (undergraduate) that come under Dr. Rouser received 4

AFls.

2019-07-29 2019-04-18
Congratulations on Pr Advanced Level Accre

Furthermore, kindly see the clip below from my meeting with Senior Associate VP, where she comments to
me (starting 0:36 mark) that it is the EdD (Education Graduate Program) that is taking the university towards
the R1 status goal, and not any other program or degrees. Although the Senior Associate VP confided this to
me, as you will see from the start of the clip, | feel hurt. Why is there supposed to be such secrecy about
the program's success? Why can't appreciation be directly and openly communicated to me, similar to
how it is done with some other individuals at the university?

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S
&A
Sef.
2023-10-25
12-28-15_V2 Senior A:

It is not an exaggeration to mention that | was working 18 to 20 hours a day, seven days a week, for the
last two years, specifically this year 2023, that too without any secretarial or coordinator support,
managing 300 to 400 students and their issues alone, meeting with international students late in the night
because it is daytime or afterwork in their countries, not to mention the significant research advisement
services and other services such as contribution to the Diversity, Equity & Inclusion (DE&I) council. Other
additional activities included managing course schedules, scheduling courses, assigning faculty, hiring
adjunct faculty, assigning adjunct faculty to courses, meeting with adjunct and regular faculty to discuss
class and student issues, meeting with student groups and student cohorts to address their issues,

orientations, open sessions, program marketing, and program representation in events outside the
universities.

The PDF on the left is the DSU news article from 2022, and the PDF on the right is the commencement

picture with Education Graduate Program students, including those whose research dissertation committee
for doctoral degrees | had chaired.

2022-09-23 The 2023-05 My picture
strong growth of Prog on main page Comme

When | was unjustly removed from the director's position via a memo, | reached out to Ms. Pamela Mosley
Gresham, JD, to ask if what happened to me aligned with the principles of the Diversity, Equity, and
Inclusion (DE&I) Council, as she is the Chair of the DE&I Council and the Executive Director of Labor
Relations in HR at DSU, and she was the one sending the administrative leave letter. In her reply, she
mentioned, “I am so sorry to hear all that you are going through right now. | am truly grateful for all that
you have done on our DE&! Council. You have always gone above and beyond in everything that you have
done on our committee.” | am not sure what to make of this reply, but | wanted to bring this to your
attention. Please see the email PDF below.

POF

2023-12-20 My
services to the DE&Ic

In a nutshell, Dr. Rouser has utilized discriminating, harassing, bullying, and demeaning behavior against
me time and again.

Lastly, | would like to mention that in the new CBA draft, the AAUP has changed the definition of Academic

Director. Please see below. This makes me wonder, what led to this change.

3.6 “Academic Director” refers to a unit member who is the functional hez
Academic Program that resides in an Academic Departm:

Please note in the ‘Evaluation of Chairpersons, Academic Directors, and Head Librarians’ section of this
document, | provide an email response from the AAUP president back in June 2023. When | pointed out that
the evaluation was not being done in accordance with the CBA, the AAUP president’s response included lies
about Director position in addition to containing the same elements as the change in the definition being

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done now, even though CBA doesn’t mention any such condition and 23.1 mentions that CBA is ‘complete’
agreement.

Chairperson is not an administrator but a unit member

“Administration” or “Administrators” shall mean those persons employed by Delaware State
3.8 University who have supervisory or managerial responsibilities and who are not unit
members.

All full-time voting faculty members as defined by Delaware State University, including

4.1 Departmental Chairpersons and Academic Directors.

Clause 3.8 explicitly categorizes individuals with supervisory or managerial responsibilities as
"Administration" or "Administrators," roles represented by positions such as a Dean or Associate Dean. This
clause additionally states supervisory or managerial role cannot be taken up by unit members.

Clause 4.1 identifies the Department Chair as a unit member.

This categorization clearly establishes that the Department Chair does not hold supervisory or managerial
status over the either the faculty or the Academic Director.

Clause 23.1.1 underscores the totality of the CBA agreement, indicating that the CBA supersedes any prior
agreements, customs, or practices and is “fully integrated”. This implies that unless the CBA explicitly states
otherwise, the Department Chair does not possess supervisory or managerial responsibilities.

New Faculty Hiring Process

The personnel needs of each Department shall be reviewed by the Department at least once
a year. The review shall take into consideration University and departmental long-range
goals, projected enrollments in the Department, curriculum requirements and the number of
TAL sections needed. Normally, such review and requests shall occur in conjunction with
Departmental budget requests. Requests to fill a vacancy shall be submitted to the
appropriate Academic Dean/Director who reviews and approves the Departmental request
and forwards it to the Provost/Vice President.

Once the Provost/Vice President “certifies” that a faculty position is to be filled, the
Department Personnel Committee shall determine the basic qualifications for each position
to be filled including academic credentials and experience in the appropriate discipline.
The Department Personnel Committee shall then forward its recommendation to the
Department Chair. The Department Chair shall forward the recommendation of the

7.43 Department Personnel Committee, along with his/her own, if different, to the appropriate
Academic Dean/Director who may modify the required basic qualifications in his/her
discretion. In addition, a Request for Personnel Form along with the appropriate EEO Forms
must be submitted. If the department’s recommendation as to the basic qualifications for
the position is approved by the appropriate Academic Dean/Director, he/she shall
recommend approval to the Provost/Vice President. If the Academic Dean /Director’s
recommendation is approved by the Provost/Vice President, he/she shall recommend

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approval to Human Resources who shall post the position in appropriate professional
journals and local and regional newspapers. Applications are sent to the appropriate
Academic Dean/Director or the Department who will screen the applicants and select
candidates to be invited for a personal interview, subject ot budget limitations

7.4.4

When candidates are invited to the campus, Department members shall be informed and
arrangements shall be made for the candidate to meet as many Department members as
possible. Candidates shall be interviewed by the Personnel Committee members, the
Chairperson of the Department or his/her designee, the appropriate Academic
Dean/Director.

TAS

In the event that the search is for a Department Chairperson, the appropriate Academic
Dean/Director shall appoint a search committee. Normally, members of the affected
Department shall constitute a majority of the search committee. Under no circumstances
shall the personal interview process be omitted in the search for a Department Chairperson.
The Department Chairperson shall then forward the Department's recommendations,
along with his/her own with the candidates listed in rank order, to the appropriate
Academic Dean/Director.

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In the case of candidates for the position of Department Chairperson, after interviews have
been completed, the Academic Dean/Director and the Departmental Personnel Committee
shall poll members of the Department who participated in the interview and others who
have reviewed the candidates’ credentials. The Academic Dean/Director shall then forward
the Department’s recommendation, with the candidates listed in rank order, to the
Provost/Vice President. The Department’s recommendations shall include the credentials of
the preferred candidate(s), other supporting documents, reasons supporting the choice of
the candidate(s), and recommended rank and salary range.

7.4.10

The appropriate Academic Dean/Director shall review the Department recommendation and
shall support a well-documented recommendation except for substantial reasons that shall
not be arbitrary. If the appropriate Academic Dean/Director recommends a candidate other
than one recommended by the Department and, if the Department requests it, he/she
shall meet with the Department to discuss his/her decision. If the Department and the
appropriate Academic Dean/Director cannot come to agreement on a suitable candidate,
both parties may appeal to the Provost/Vice President.

7.4.15

if a new Department is being created, the appropriate Academic Dean/Director shall appoint

‘an ad hoc search committee consisting of five (5) members of the faculty from related or

other disciplines to act in lieu of the Department Personnel Committee. The ad hoc
committee shall follow the procedures set forth above.

7.4.16

The above procedures shall also be followed in the appointment of auxiliary faculty and shall
also apply to adjunct or part-time appointments of individuals to teach credit courses in the
Division of Continuing Education. Nominees for such adjunct appointments may come from
many sources including, but not limited to, the Department faculty, the Department
Chairperson, the appropriate Academic Dean/Director, the Director of Continuing Education,
and the Provost/Vice President. However, such nominees shall be considered by the

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Chairperson and members of the Department before a Department recommendation is
forwarded to the Provost/Vice President.

The parties hereto recognize that resignation beyond the usual dates of notification,
withdrawals of candidates prior to the start of classes, and the need to appoint new unit
members because of unforeseen enrollments, and other such circumstances induce
hardships for both the University and the Department. In such cases, the procedures
7.4.17 described herein may be modified according to the circumstances. In any event, members
of the Department and the Department Chairperson or his/her designee shall either meet
with candidates and/or review credentials; and the Department shall be responsible for
conveying a recommendation to the appropriate Academic Dean/Director as promptly as
circumstances permit.

The Provost/Vice President or his/her designee shall review the recommendation of the
Department Chairperson, Dean, Academic Director or Head Librarian and support a favorable
recommendation except for substantial reasons that shall be in writing and shall not be

1.53 arbitrary. All recommendations from departments shall be routed through an appropriate
Dean or Administrator who shall include his or her own independent recommendation
with that of the Chairperson, Academic Director, or Head Librarian upon submitting the
recommendation to the Provost/Vice President.

In addition to the Departmental Personnel Committee’s recommendations, Departmental
peers who have chosen to evaluate a candidate or who have been requested by the
8.10.6 Chairperson to evaluate a candidate or other peers who may have been requested to
evaluate the candidate shall submit their signed recommendations to the Chairperson or
Academic Director

Education Graduate Program New Faculty Selection 2023

After two years of my repeated requests, interviews for the selection of new faculty positions in the
Education Graduate Program finally started in January 2023. | served on the selection committee during the
interview process, along with other faculty members. It is important to note that | have never been
permitted to participate in the faculty hiring process for the program as outlined by the CBA for the
Academic Director.

Despite the CBA's stipulation that the Department Chair should not be involved in the selection committee's
interview process, Dr. Rouser intervened and halted the selection process because she disapproved of the
candidates selected by the committee, which comprised experienced professors. She preferred candidates
of her choosing for the Education Graduate Program, despite lacking familiarity with it. Meanwhile, | and
other graduate faculty members on the selection committee had thoroughly reviewed the applications and
conducted full interviews.

Dr. Rouser's justifications that resulted in the halting of the selection process were lies, as she was
misleading the committee members about the accreditation requirements in context of faculty. Since | had
obtained national accreditation for the Education Graduate Program previously in 2019, | was aware of its
requirements and conveyed the same to Dr. Rouser. However, she never accepted the facts and simply
twisted words. This is a pattern of behavior that Dr. Rouser consistently displays; despite being uninformed
about the program and its workings, she resorts to falsehoods to support her arguments. This issue caused
significant concern among faculty members, as evidenced in emails (please see some below).

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2023-03-10 2023-03-09 Email
Email_from Faculty - C from Faculty - Or Rou:

When the matter was escalated to the interim Dean in March 2023, Dr. Osei, he refused to listen and give
attention to anything | had to say or show him concerning this matter. Instead, the Dean organized a meeting
with the committee members and the Chair and stated that the Chair has the discretion to halt the interview
process as she sees fit because Dr. Rouser is an administrator. Other faculty members voiced that this went
against the CBA, however, the Dean refused to admit it (please see clip below).

<>

2023-10-25 12-28-15
_V1.mp3

| would like to note that this reflects a trend among administrators at DSU, who are not required to read the
CBA, often disregard it, and rely on second-hand information.

With involvement of HR, it was decided to move the hiring process ahead for 3 of the 4 positions for the
Education Graduate Programs, based on the selection committee recommendations that were sent to Dr.
Rouser in February 2023 itself, while the 4th position, selection committee decided to hold the interviews
again and event that consisted of Dr. Rouser’s interference and hence had to be rescheduled a total of three
times. Nevertheless, even for the 4th position, the committee forwarded candidate recommendations to Dr.
Rouser by the end of June 2023.

| would like to highlight that From February 2023 and August 2023 i.e. over 6 months the hiring process of
3/4 positions were deliberately stalled by Dr. Rouser even though she had received recommendation in
February 2023. This is because, It resulted in a lack of support for the Education Graduate Program, all the
while the student strength in the program was at an all-time high in 2023 (between 300-400 active graduate
students).

Whenever | inquired about updates on the selection process, Dr. Rouser would initially claim it was ongoing,
but later, starting in June 2023, she started claiming that due to budget constraints, new faculty hiring might
be postponed to the next year.

This justification was revealed to be a lie (recurring pattern) in an HR meeting in August 2023, where it was
clearly mentioned by the senior HR leadership that there were no such budgetary constraints for these
positions.

The deliberate stalling of the hiring process was further solidified when, soon after this HR meeting, the
selection process was immediately moved forward by Dr. Rouser and the Dean and sent to HR for
onboarding, all within a week.

This was clearly a strategy by Dr. Rouser to harass me and impact the program, by artificially creating a
dearth of resources to increase my workload, to intentionally undermine my work and impact my mental
and physical health adversely.

Only a person who harbors animosity towards someone does that. The question to be asked is, why does
Dr. Rouser harbor such animosity towards me when | have never done anything to wrong her?

Re: Recent Middle Level Education New Faculty Selection

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Since I'm still a member of the Personnel Committee, we were recently involved in the ongoing selection
procedure for new faculty in middle-level education. Given the fiasco that happened with the faculty
selection in the Education Graduate Program, | maintained a hands-off approach in this particular faculty
selection procedure

To develop the interview questions, the Selection Committee agreed that two to three individuals from the
committee would work on this task. One of the members assigned to develop the interview questions
brought to my attention that, in a recent exchange of communication among the committee members
regarding the interview questions, Dr. Crystal Timmons, who is a close friend of Dr. Rouser included Ms.
Sabrina Bailey, another favorite of Dr. Rouser.

Sabrina Bailey is not a member of the Personnel Committee, so the committee member who sent me the
email was highlighting that a non-selection committee member was also shared the interview questions.
This is a serious breach of the confidentiality of the Personnel Committee, as well as demeaning to the
experience of the committee members, and clearly against the CBA. Please see PDF below.

illegal Sharing of
Faculty Selection Qs w

Perhaps the reason this was shared with Sabrina Bailey is that whenever Dr. Rouser is away from her
position, she assigns Sabrina Bailey to perform tasks of the Chair. So, in this scenario it was perhaps to
obtain the interview questions for Dr. Rouser.

Apart from the above-mentioned issue regarding the breach of the interview process and committee
authority, this also compromises the interview process and potentially leaks the interview questions to

the candidate Dr. Rouser prefers.

Evaluation of Chairpersons, Academic Directors, and Head Librarians

Chairpersons, Academic Directors, and Head Librarians shall be subject to all of the
procedures to be followed for all unit members in matters of recommendation or non-
recommendation for promotion, tenure, reappointment, merit increases, or other personnel
decisions; however, in the case of a Chairperson, Academic Director, and Head Librarian,
11.3.5.1 the appropriate Academic Dean or designee shall perform the evaluation duties of a
Chairperson, Academic Director, and Head Librarian, and peer evaluations shall be
submitted directly to the appropriate Vice President.

| only became aware of a specific clause in our Collective Bargaining Agreement (CBA) this year. Before that, |
had no idea it even existed, and it seems many other clauses in the CBA are also overlooked. My attention
was drawn to this issue in June 2023, when | started receiving emails from Dr. Rouser about a new software
called "Performance Pro," introduced by HR for performance evaluations. Since we had never used new
software for evaluations before, and none of my colleagues and faculty had been informed about this
change either. Not only that but the evaluation criteria that the CBA specifies was nowhere to be found in
the evaluation rubric of this software.

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2023-06-21 -
Emails_Documents Pe

Dr. Rouser informed me that she will be evaluating me as my supervisor and given Dr. Rouser had given me
incorrect evaluation scores last time the evaluation happened, which | had to get it corrected from her
(please see pdf below, that also contains comments), | suspected potentially abusive evaluation system.

2021-05-23 2021-05-26 Dr
Comments on incorre Rouser Corrected eva

So, | reached out to our CBA representative for clarification. Initially, they seemed unsure about how to
respond. When | expressed my concerns to the CBA president, Indicate Davidson, particularly about the
deviation from the CBA and why my evaluation wasn't being conducted by my team, her response was
unexpected. She implied that if the chair had conducted my evaluations in previous years, it should continue
in the same manner, suggesting that if the CBA hadn't been properly followed before, it was acceptable to
continue those incorrect practices. This left me feeling even more uneasy about the whole situation.

2023 (06-22 to 07-17)
CBA President approv

Receiving this answer, | had completed the performance pro evaluation using the performance pro software.
Dr. Rouser has also completed this performance pro evaluation, designating herself as the supervisor. | have
not seen this evaluation by Dr. Rouser as of now, so | have not certain what is written by her in there.

The above answer from the AAUP president (containing confusing statements regarding Director), | feel that
my responsibilities as an Academic Director have been significantly reduced without proper notification,
which is concerning in light of 17.4.1 (pasted below)

“Recognizing that certain faculty members have been hired under non-standard contracts preceding this
Agreement, the parties agree to address each of these cases individually, to determine salary revisions and
status in or out of the bargaining unit on an individual basis. These salary revisions shall be agreed to by the
AAUP Executive Committee and the Board of Trustees in a binding codicil that will have the same force of this
Agreement but which will not be published as a part of this Agreement due to the required privacy of
individual personnel issues. All individuals affected by such a codicil will, however, be individually informed of
such proposed changes prior to the ratification of this Agreement, with the AAUP to verify that all such
individuals have been notified.”

When | was appointed in 2016, my role encompassed overseeing all graduate programs within the college,
including attending high-level meetings with the Dean and managing coordinators from various
departments. Please see pdf

However, after recent structural changes in the college, my role has been diminished. | no longer have direct
access to the Dean and have been excluded from key college leadership meetings that now only involve
Chairs and Deans.

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| CBA related - AAUP President and Vice-President are compromised

My experience with the AAUP leadership at DSU has led me to believe they are compromised, seemingly
working for the DSU administration's interests. This is based not only on my experiences during my
performance evaluation with the AAUP representative but also because of the removal from director
position incident. When | approached the AAUP president via email questioning the lack of due process, as
the director is a unit member, | received no response. This silence, coupled with the contents of a memo
from the Dean on December 18th, makes me fairly certain that the AAUP president and vice president were
involved in writing it too. When | approached the vice-president Lori Crawford regarding the unfair and
unjust assignment of courses, | did bring the director matter and her response was in a nutshell, Dean can do
whatever they want. Kindly refer to the Workload Section in this document to listen to this audio. Moreover,
their responses and passive stance in allowing the Dean to assign undergraduate courses, despite knowing
about the Dean and Rouser's attempts to humiliate, discriminate, and bully me, only strengthen my belief
that AAUP leadership at DSU is working for the administration and are trying to scam the faculty that they

are supposed to represent.
My experiences with AAUP leadership is echoed in the AAUP secretary resignation email provided below,

where they indicate that they are resigning because “AAUP DSU Chapter is not acting on behalf of DSU
faculty” and “current AAUP Executive Committee is not promoting the welfare of DSU faculty.”

2023-10-03 AAUP
Secretary Email - DSU

The AAUP president and vice president have not only misrepresented CBA information, as indicated in the
performance evaluation incident with me but are also wrongly insisting that the Department Chair is an
administrator. The CBA clearly states otherwise. In the CBA negotiations emails communications with the
DSU faculty (provided below), they claimed that,

“Chair (they) are considered administrators and not unit members except in case of suspension or
dismissal,”

Whereas the actual clause from the CBA (19.3) state

“While serving as Department Chairperson, the faculty member shall be considered as an administrator
and not as a unit member for all purposes of discipline except in cases wherein the University is pursuing
suspension or discharge.”

POF

2023-10-20 CBA
president and Vice lie

Please note that those two statements have completely different meanings. What the AAUP reps are saying
falsely makes the Chair an administrator, but not for discipline, whereas the actual clause states that the
Chair is an administrator for all purposes of discipline only and otherwise, the Chair is a unit member based
on CBA 4.1 and 3.8. Kindly, also note the forcing a narrative of terms like “quasi-administrator”.

Here is the full AAUP CBA negotiation email thread with the faculty at DSU, and you will see how much the
faculty is against the idea of the Chair as an administrator and other similar policies, including significant

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inequality in pay between faculty and administrators. Yet, AAUP reps remain insistent and force the narrative
of the administration on the people (faculty) they are supposed to fight for.

2023-12-19 Tensions
in the CBA Negotiatio

The administration, as shown in a document below sent by the AAUP president in Fall 2022, is pushing to
make the Chair an administrator.
Por

2022-12-19 AAUP
Update Letter.pdf

It's important to note that the Department Chair is not mentioned as a ‘head’ in the CBA, whereas the
Academic Director is referred to as a ‘Functional Head’ in Article 3.6. The Chair isn't described as a
supervisor or manager either, so the administration's insistence on making them an administrator is baffling
that is in contrast to the treatment | received for my significant hard work.

| believe this has much to do with DSU Online. With declining profitability and admissions in face-to-face
courses, the administration saw the success of the online EdD and Med programs | ran, which | transitioned
online in March 2020. These programs were highly profitable, bringing in significant revenue. Based on my
approximation | ran the online programs at 85% - 90% profit margin, with multimillions in revenue coming to
the university every year, specially in 2021, 2022 and 2023. The administration's focus on redefining
Department Chairs as administrators in the new CBA seems aimed at slowly phasing out tenured faculty and
shifting DSU entirely online. By categorizing “department chairs” as administrators, they could maintain a
semblance of academic credibility while also having the flexibility to remove any faculty they wish, based on
arbitrary interpretations of CBA clauses, as they did in my case.

| remember one of the meetings of the AAUP with faculty that happened in Spring 2023. A faculty member
asked AAUP reps why the strength of the AAUP membership is not growing and why AAUP reps are not able
to reach out to the faculty who are not AAUP members at DSU via bulk/mass emails. To this, Adenike
Davidson said that they don’t have the emails of the faculty at DSU, and HR won't give them the emails. |
would like to note that Adenike Davidson (also a faculty member) could have easily accessed the faculty
emails from the DSU website without the need of HR. However, | don’t find this answer surprising now, given
that the AAUP leadership’s behind-the-scenes alignment with administration goals means they deliberately
wouldn’t want to increase the AAUP membership.

Salary
11 The salary minima for nine month appointments shall be: Professor = $90,000 and
teloce Associate Professor = $75,000
The minima for 12-month appointments shall be twenty percent (20%) percent greater
Liki than the 9-month figure.

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17.2.1

The salary minima for all Associate Professors on a nine (9} month appointment shall be
$75,000. Beginning in FY 2017 the University shall, over the course of three years, raise
the salaries of all Associate Professors to that minimum plus any increases recommended
by the legislature and approved by the Governor. All Associate Professors already making
above $75,000 shall, during the next three years, receive a raise of 3% plus any increases
recommended by the legislature and approved by the Governor, with the exception that
no Associate Professor already making $100,000 shall receive a raise of more than $3,000
in addition to increases recommended by the legislature and approved by the Governor.

17.1.3

The minima for 12-month appointments for Department Chairpersons shall be thirty three
percent (33% greater than the 9-month figure).

17.9.2

Unit members who receive stipends for extra duties, i.e., Chairperson of a Department,
shall, upon resignation or termination of extra duties, lose that stipend and receive the
appropriate salary including accumulated increases and increments they would be
receiving had they not accepted the extra stipend. Such stipends shall not be considered
part of the base salary.

12.2.7.1

(Department
Chair’s
responsibilities)

To arrange course schedules and offerings in consultation with the faculty and according to
the procedures set forth in this Agreement." (F) "To develop programs of study, course
offerings, curriculum, and other academic policies in conjunction with the appropriate
Department and Senate committees." (G) "To review current offerings and syllabi,
textbooks, and other instructional material in conjunction with the appropriate
Department committee.” (H) “To develop and implement a system of advisement for
majors." (J) "To maintain Department records, including student records.” (K) “To exercise
academic leadership in the teaching, research...” (S) "To administer graduate programs (if
applicable) within the Department.

19.2.10
. All references in this article to Department Chairpersons shall also apply to Academic
(ARTICLE 19is | Directors and the Head Librarian.
‘Governance’)
The University shall not deliberately attempt to reduce the bargaining unit by arbitrary
4.4 . .
changes in titles or by the creation of new classifications.
12.2.12 Teaching faculty members who receive twelve (12) month contracts are expected to teach
“— six (6) credit hours or its equivalent during the summer."
W774 During the period of this Agreement, Department Chairpersons shall receive a teaching
_ load reduction of at least six (6) hours per semester.
Compensation for teaching non-credit courses or unusual non-instructional activities and
services, where such services are not considered part of the member’s basic load, normal
17.10.41 faculty responsibility, or other activities covered elsewhere in this Agreement, shall be by
special contract arrangements between the unit member and the University. The
Association shall be notified of the details of any such special contract arrangement
In the event that the University wishes to make salary or fringe benefit adjustments which
are more favorable than those called for in the Agreement to any individual member of
17.11.1 the bargaining unit for purposes including, but not limited to, matching a bona fide offer

from a rival institution, the University may do so. The Association will be informed of such
action immediately.

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The University may award bonuses to any unit member for reaching or exceeding goals in
improving student success in categories including, but not limited to, student retention,
graduation, internships, and job placement. The Association will be informed of such
action immediately.

17.12.41

As a professor, minimum salary is $90,000 for 9-month appointments.

However, under the terms of my Director's agreement, dated February 2016 but effective from July 11,
2015, it is specified that | am a 12-month faculty member, a fact also confirmed by the CBA representative in
an email (see evaluation section).

Currently, my salary of around $97,500 seems to be structured as follows:

e $90,000 base
e $5,000 per year fixed stipend for serving as Director.
e $2500 merit pay increase given by university due to my performance

$5,000 is the fixed annual stipend | have received since my appointment as a Director in 2015. Despite my
repeated requests for an increase in the stipend, given the growth of the program | have led since 2015, it
has been denied, and the stipend remains unchanged. Regarding additional compensation, | have requested
the Dean and the chair, Dr. Rouser, many times over the last three years, since 2020, and each time | receive
a response that they are unable to do so. Consequently, on just a mere $5,000 stipend, which has remained
the same since 2014, | have had to manage the significant workload of overseeing 300 to 400 students
without any support system. | have reached out to the HR with the stipend issue too, back in September
2023. | am sharing the PDF | sent here that details the stiped issues. However, | never obtained any feedback
or resolution regarding this.

2023-09-14 Stipend
Issues shared with Pai

Yet, not only are other coordinators paid a significant stipend from Title 3, but | also receive none from it. |
have a recording from a meeting with the Dean and Dr. Rouser where they decided to pay Dr. Sasso a stipend
equal to that of the Director, highlighting how minimal such a stipend is just for the summer session. Dr.
Rouser has never expressed the same consideration for my stipend. | would like to mention here that on
multiple occasions, Dr. Rouser considers the Director at the same level as a coordinator. Please see the video
and HR email below for more information.

Yet, according to the 17.1.2 clause in the agreement, my compensation, considering the roles of both
Director and Professor, should have been at least 20% more than the $90,000 base salary, which would
amount to $108,000. This has been not the case.

Also, 3% raise as indicated in 17.2.1 is also something, | have not received. | do remember in one of the
AAUP meetings this was brought up by a faculty and AAUP president responded by saying something along
the lines that it was administration’s choice to give it or not and so they choose not to give it. Though this
response doesn’t make sense, but | never took 3% increase matter further. Please see pdf.

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The Chair receives a 33% raise in minimum salary. Why hasn't the Director been given a similar 33%
compensation when the responsibilities outlined in 12.2.7.1 are carried out by the Director for the
Education Graduate Programs? Section 19.2.10 sets the equivalence of the governance roles of Chair and
Director.

It is noteworthy that most duties assigned in 12.2.7.1 are not performed by Dr. Rouser. Instead, she assigns
or dumps them on the coordinators, who are exclusively selected by her. The CBA doesn't have provisions
(4.4) that permit the Chair to delegate their duties to program coordinators, especially when they are
receiving a 33% higher salary than regular faculty. So why is it being allowed by the university and the CBA
representatives that Dr. Rouser forgoes her Chair responsibilities onto the coordinators?

Dr. Rouser has previously assigned roles of coordinator for a stipend of $2,800 per year, without any contract
(please see pdf)

17.1.3 indicates that the minimum salary of the Chairperson (12-month) would be 33% greater than the 9-
month salary. Hence, it is unclear if 17.9.2 is referring to a stipend separately or it is referring to the 33%.

Since | am doing the duties given in 12.2.7.1 shouldn’t | also have been compensated via a stipend, similar to
33% additional compensation, in a similar fashion to the department chairperson. At least 17.1.2 should
have been applied (20% greater than the 9-month). However, | have not received any such additional
income. Yet, | have been constantly expected to take on extra workload, regardless.

| would like to highlight here that according to the CBA 12.2.2.7.1 that lists the responsibilities of the
chairperson, | had done all these responsibilities for my program without any coordinator or support
system, in contrast, Dr. Rouser has employed coordinators, which are not part of the CBA, to do these
functions for her; she employs them as she wishes, | do the same functions, yet | am not afforded such
opportunities. The first time | receive full-time coordinators, Dr. Rouser tries to remove me from the
program as quickly as possible.

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Exhibit 8
Case 1:24-cv-00777-UNA Document 1-1 Filed 07/02/24 Page 67 of 101 PagelID #: 84

Re: Re dissertation Defense of a student

Emily A. Williams <eawilliams@desu.edu>
Mon 11/20/2023 1:26 PM

To:Nirmaljit K. Rathee <nrathee@desu.edu>
Cc:Shelley Rouser <srouser@desu.edu>

Dear Dr. Rathee:

While I thank you for your email, please stop communicating with students while
you are on leave. This is only serving to confuse processes that are in place during
your leave. Make sure to let any communications that come through email rest with
your out of office message which informs persons what email to respond to for

assistance.

As for telephone calls, you have to let students know they are to contact Dr.
Rouser. She serves now to direct and appoint other faculty as necessary to handle
responsibilities relating to your position while you are away.

Once again, I appreciate your reaching out, yet I ask you to abide by the requests
put in place by HR for you not to communicate directly with students, faculty, and
staff while you are on administrative leave.

I seek your cooperation. [Dr. Rouser is copied on this email.]
Sincerely,

Dr. Emily Williams
Vice Provost for Academic Affairs

Delaware State University
E: eawilliams@desu.edu I O: 302.857.6100 I F: 302.857.7410
1200 N. DuPont Highway, Dover, DE 19901 I desu.edu

DSU

It All Matters.

From: Nirmaljit K. Rathee <nrathee@desu.edu>
Sent: Monday, November 20, 2023 12:21 PM

To: Emily A. Williams <eawilliams@desu.edu>

Cc: treecy_04@yahoo.com <treecy_04@yahoo.com>
Subject: Re dissertation Defense of a student

Good morning, dear Dr. Williams.
Case 1:24-cv-00777-UNA Document 1-1 Filed 07/02/24 Page 68 of 101 PagelD #: 85

I am reaching out to you regarding the dissertation defense of Ms. Petrece Haughton, which was
scheduled for today. As I couldn’t communicate with her, she is not feeling comfortable proceeding
with her defense today and would like it to be rescheduled for November 27 at 4:30 PM EST.
Additionally, I request that you kindly authorize either Dr. Yvette Pierre or Dr. Justin Alexander to act
on my behalf to ensure the necessary arrangements are made.

I have copied the student on this email so that she is aware of the progress.

Sincere regards,

ML Rathee

Dr. N. K. Rathee
Professor of Education &
Academic Director, Education Graduate Programs
Delaware State University, EH 112
&. 302-367-8949
nrathee@desu.edu

Tat
DSU

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Exhibit 9
Case 1:24-cv-00777-UNA Document 1-1 Filed 07/02/24 Page 70 of 101 PagelD #: 87

Re Education Graduate Program: Misinformation and Unauthorized Changes - A
request for the meeting

Nirmaljit K. Rathee <nrathee@desu.edu>
Fri 12/15/2023 1:20 PM

To:Emily A. Williams <eawilliams@desu.edu>
Cc:Marquita Thomas Brown <mthomasbrown@desu.edu>

Good afternoon, dear Dr. Williams,
I trust you are doing great and that you are having a wonderful day.

I am writing this email to you with great pain in my heart due to the recent happenings.

I would like to inform you about a rumor being circulated among the students that I have resigned
due to illness and that another person has taken over my position. Below is the link to the message I
received regarding this matter.

https://drive.google.com/file/d/1gJYsAZjroRLr9jMuDbDYk3_UZgVGLtVo/view?usp=sharing

This is not an isolated event. Students and faculty have conveyed that they have been repeatedly
informed that I will not be returning as the director of the program. I’ve heard that whenever
students or faculty ask about this, Dr. Rouser tells them that this is an HR matter.

1. Immediate actions by Dr. Rouser and Dr. Sasso during my Leave: As soon as I was put on
administrative leave, Dr. Rouser, in collaboration with Dr. Sasso, started implementing
significant changes to the program. These changes included program scheduling, operational
aspects & working procedures. Below, I am briefly providing the changes by Dr. Rouser and
Dr. Sasso within one month of my leave, which included the Thanksgiving holidays and
weekends.

a. Reassignment of Adjunct Faculty and Course Schedule Disruptions: There was a
major reassignment of adjunct faculty and a disruption of the course schedule.

b. Emails to faculty and students: Blatant emails are being sent to faculty and students,

indicating a change of charge of the program. This made the students confused and
restless.

c. Blatant unapproved changes: Emails were sent to students and faculty about future
program changes without any prior discussion and approval from the faculty and
Director. Unwarranted changes are being hurriedly made to dismantle or completely
alter the structure of the program without realizing that it has been built after a decade of
my and the all graduate faculty’s hard work, and its validity has been established by the
unconditional approval of the program by the CAEP, Middle States, SPA, DDEO
Quality Assurance. Due to shortsightedness or lack of experience, if any major changes
are made, we will risk losing that accreditation/approval.

d. Removal from Student Research Chair Position: | was removed from my position as
the chair of student research committees.

e. My removal from Spring 2024 courses: | have been removed by Dr. Sasso and Dr.
Rouser from the course that I was going to teach in Spring 2024, and now it is assigned
to Dr. Sasso.
-24-CV- : 1-1 Filed 07/02/24 e 71 of 101 PagelID #: 8
Case ie reading of FNise fneynation and De aination: s show me were told to Padiey
during the department meetings and through emails.

g. ‘Meet and Greet' Event, Email Exclusions & Backdoor Actions: An email about a
‘Meet and Greet’ event was sent to all adjunct faculty, excluding regular faculty, which |
found peculiar. During the 'Meet & Greet,' Dr. Sasso informed the adjunct faculty about
how he would be making many changes to the program. I was never informed about this
event. Such significant actions were taken without the necessary discretion of the
Program Director.

h. Another “Meet & Greet” is being planned for the evening of Monday, Dec. 18, without
any discussion or involvement of the existing experienced faculty.
2. Potential Motives Behind these actions: It should be noted that altering the program while I

am on leave appears illogical unless there is an underlying assumption that I won't be coming
back. It begs the question, why do Dr. Rouser and Dr. Sasso hold such beliefs?

These actions taken during my administrative leave aimed at undermining my position and career at
the university violated the university's civility standards, and involved spreading misinformation.
These actions seem planned to block my return and usurp my role, representing a significant breach
of conduct and disrespect for my 15 years of service. Moreover, these actions align with an audio
message implying my disassociation from the program.

I believe this situation warrants your immediate intervention to prevent further damage to my name
and program reputation.

Given the above facts and current unplanned changes, [ am humbly requesting that it would
be great if I could meet with you before the meeting with Dr. Rouser so that accurate
information can be shared. This is also important, as Dr. Rouser had many opportunities to
interact with you during my absence to present her side, but I never could get such an
opportunity.

Wishing you a great day,

MN Rathee

Dr. N. K. Rathee

Professor of Education &

Academic Director, Education Graduate Programs
Delaware State University, EH 112

&, 302-367-8949

~~ nrathee@desu.edu
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Exhibit 10
Case 1:24-cv-00777-UNA Document1-1 Filed 07/02/24 Page 73 of 101 PagelD #: 90

DELAWARE STATE UNIVERSITY

OFFICE OF HUMAN RESOURCES

December 15, 2023

Via Email: nrathee@desu.edu
Nirmaljit Rathee, Ph.D.

Delaware State University
1200 No. DuPont Highway
Dover. DE 199019

Dear Dr. Rathee:

On November 7, 2023, you were placed on Paid Administrative Leave pending an investigation
of allegations of official misconduct. The Office of Title IX has concluded its investigation.
Effective Monday, December 18, 2023 you are cleared to return to work. Please contact Dr.
Emily Williams to discuss the details of your return.

On behalf of the administration, | wish you much success in your return to Delaware State
University.

Sincerely,

aribery fog ®__

Pamela AH a, am, J.D.

Executive Director of Labor Relations

Chair of the Diversity, Equity, and Inclusion Council
Office of Human Resources

cc: Irene C. Hawkins, Ed.D., Executive Vice President
Francine Toliver Edwards Ph.D., Deputy Chief Administrative Officer
Emily Williams, Ph.D., Vice Provost of Academic Affairs
James Overton, Chief, University Campus Police
File

1200 NORTH DUPONT HIGHWAY ¢ DOVER, DELAWARE 19901-2277 ¢ (302) 857-6261 ¢ FAX (302) 857-6264

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‘Casé 1:24-cv-00777-UNA Document 1-1 Filed 07/02/24 ‘Page 74 of 101 PagelD #91

Exhibit 11
Case 1:24-cv-00777-UNA Document 1-1 Filed 07/02/24 Page 75 of 101 PagelD #: 92
My humble request to rescind the decision

Nirmaljit K. Rathee <nrathee@desu.edu>
Mon 12/18/2023 2:54 PM

To:Emily A. Williams <eawilliams@desu.edu>
Cc:Saundra F. Delauder <SFDelauder@desu.edu>;lrene Chapman-Hawkins <ihawkins@desu.edu>

i 2 attachments (685 KB)

Kemisha Complaint against Dr Brown.pdf; OneDrive_Folders_Shared.png;

Good afternoon, Dear Dr. Williams,
It was a very painful, sad moment to receive the letter from you removing me from the position of Director after my

earnest loyalty to the university.

If | could have been afforded an opportunity to be heard, | could have placed the true facts before you. | respectfully
request a reconsideration of this decision in light of the following information, particularly concerning the plagiarism
allegations raised by Dr. Rouser.

Process timeline of Ms. Kemisha's/Plagiarism case

| have provided below a detailed timeline to illustrate the procedural adherence and due diligence exercised under my
leadership:

1. On July 11, 2023, Dr. Justin Alexander, Chair of Ms. Kemisha's Dissertation Committee, confirmed her readiness for
the proposal presentation scheduled for July 18 and circulated the proposal among the Committee Members.

tO

. As a director of the program, | found out about the plagiarism issues in Ms. Kemisha's proposal, and | talked with
Dr. Justin Alexander.

3. Meanwhile, on July 18, 2023 - Dr. Alexander announced Dr. Brown's addition as a committee member.
4. July 18, 2023 - Given the plagiarism concerns, no outcome was declared by the committee.

. As a director, | met with the student and the committee members to ascertain the situation. During the meeting
held on August 14, the committee thoroughly discussed the matter to uphold the rigorous standard of the
program and to ensure a constructive path forward for the student; it was decided and approved unanimously to
craft a comprehensive Developmental Plan to implement. The plan was shared on August 16, authorizing the
committee chair, Dr. Alexander, to share and work with Ms. Kemisha.

Nn

a. In the memo, it is mentioned on page 1, in the last line, that “Another committee member informed Dr.
Rouser while the student was not informed until Dr. Rouser did so.” This is a blatantly false statement by
Dr. Rouser, as the student was already informed by me as well as by the committee chair in July-August of
2023, and the student asked for pardon and had started working on developing her new research proposal.

6. Dr. Sonia Sedegui was appointed as an external advisor to ensure that the student’s scholarly submission adheres
to and exemplifies the stringent standards of originality. Regrettably, Dr. Sedegui neither contacted the student
nor submitted any progress report. Concerningly, despite these omissions, Dr. Rouser appointed her to a full-time
post-doc position and an adjunct faculty role, equivalent to a full-time workload. When | inquired Dr. Sedegui
about her lack of engagement in this case, she initiated (on the recommendation of Dr. Rouser) a Title IX case
against me, perhaps as retaliation. Please note that this case has since been dismissed.

7. Contrary to allegations, Ms. Kemisha was not allowed by me or the committee to progress beyond the proposal
presentation stage, a fact that can be confirmed by the Committee Chair and Ms. Kemisha herself.

8. October 16, 2023 - Dr. Alexander has again circulated Kemisha's revised proposal for proposal presentation.

9. On November 4, 2023, Dr. Brown requested Dr. Alexander for a report from Dr. Sedegui, emphasizing her
responsibility to verify the originality of the manuscript. On the same day, he sent an email to Dr. Rouser without
copying me or any committee member regarding Kemisha’s plagiarism issue.
10. Dr CaS Sadi REY OO YN ER QRY SE Sth totiely lied Ql eter, Farid gghtol Ragslo# 19 2 bmit a
report. Please note that after the Nov. 5 request for a report by Dr. Brown, a false Title IX allegation was filed by
Sonya Sedegui.

11. On November 7 and November 10, Ms. Kemisha sent an email complaining about Dr. Brown and requesting his
removal from the committee. | have attached this email.

For over 15 years, | have diligently worked to uphold the integrity of our programs, which is why our program is thriving
and nationally accredited. To suggest that | would compromise this integrity is profoundly misguided and unjust.

Hence, | do not understand why | am being punished for an issue | was dealing with as the ‘Academic Director’ who,
according to the CBA, is the functional head of the academic program. This matter was in the midst of the resolution
process when Dr. Brown reached out to Dr. Rouser to flare it up due to his personal matters with the student.

Regarding the Data Issue,

All necessary information resides with the CAEP Coordinator of the Department, at AIMS, on the blackboard, on the
banner, and with the Graduate School. Furthermore, as Director, | have shared data through OneDrive, DropBox, and
other university-provided Microsoft Suite tools with the faculty members (example snapshot attached). The challenge
lies not in data availability but in the willingness to extract and utilize it effectively. Hence, this allegation against me is
not true.

My Humble Request To Kindly Rescind the Decision

| earnestly implore you to rescind the decision to remove me from my position as Program Director. Your prompt and
fair reconsideration is not only appreciated but essential for upholding the principles of fairness and due process that
we hold dear.

Most respectfully,

NL Rathee

Dr. N. K. Rathee
Professor of Education &
Academic Director, Education Graduate Programs
Delaware State University, EH 112
X, 302-367-8949
nrathee@desu.edu

Tt
DSU

From: Emily A. Williams <eawilliams@desu.edu>
Sent: Monday, December 18, 2023 8:00 AM

To: Nirmaljit K. Rathee <nrathee@desu.edu>
Cc: Saundra F. Delauder <SFDelauder@desu.edu>; Shelley Rouser <srouser@desu.edu>; LaKresha Moultrie <Imoultrie@desu.edu>;

Kenisha Ringgold <kringgold@desu.edu>; Irene Chapman-Hawkins <ihawkins@desu.edu>
Subject: Dr. Rathee - Return to Work Memorandum

Case 1:24-cv-00777-UNA Document 1-1 Filed 07/02/24 Page 77 of 101 PagelD #: 94
Dear Dr. Rathee:

Please see the attached memorandum regarding your return to work following paid administrative leave.

Sincerely,

Dr. Emily Williams
Vice Provost for Academic Affairs

Delaware State University
E: eawilliams@desu.edu I O: 302.857.6100 I F: 302.857.7410

1200 N. DuPont Highway, Dover, DE 19901 I desu.edu

DSU

It All Matters.

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Exhibit 12
Case 1:24-cv-00777-UNA Document 1-1 Filed 07/02/24 Page 79 of 101 PagelD #: 96

False allegations in the Memo issued by the College Dean to remove me
from the position of Program Director

Kemisha’s matter — Plagiarism by the student.

Though the memo doesn’t mention the student's name, | am certain it is Kemisha, as this was the matter over
which Dr. Rouser and | were not in agreement and were discussing via email threads just before | was sent on
Title IX administrative leave due to Sonya Sedegui's false allegations. This matter was not something that HR
was involved with, nor was | aware or informed of any investigation that HR was conducting in this matter.
Nonetheless, kindly refer to the content below which will clarify things about this matter and also clearly show
that false allegations were utilized even in the memo.

Kindly note, that the sequence of events below alone directly contradicts the “Another committee member
informed Dr. Rouser while the student was not informed until Dr. Rouser did so.” statement from the Dean’s
Memo.

Kindly refer to the event with regards to the Kemisha’s matter in the following points:

1. In July 2023, Kemisha was at the initial stage of her research, which involved a research proposal defense.
This stage is where a student proposes their research methodology and data collection plans to a
committee. It is not a doctoral dissertation defense, which occurs after data collection, analysis, and the
completion of the dissertation document. This distinction is crucial as it clarifies that Kemisha was at the
stage of proposing research and not conducting the actual research.

2. Kemisha plagiarized a significant amount of literature from other articles, copying and pasting it
verbatim without any references or appropriate citations.

3. Initially, Kemisha's plagiarism was detected by her research committee chair (Dr. Justin Alexander), me, and
Dr. Kornel Brown (one of her committee members).

4. | was in discussions with Dr. Justin Alexander, about this situation.

5. | then met with Kemisha regarding this issue on August 8, 2023. She described the harassment she faced
from one of the committee members, Dr. Kornel Brown, and how Dr. Kornel Brown was displeased with Dr.
Alexander, Kemisha’s chair. According to Kemisha, Dr. Brown seemed adamant about causing trouble for
Kemisha (Video clips from this meeting).

Please double click on each file and then press “Open” to view the video

3 me sea #3
foe? deed =? tat
2023-08-08 19-04-32 2023-08-08 19-04-32 2023-08-08 19-04-32 2023-08-08 19-04-32
Kemisha ivieeting-i.m Kémisnha Meeting-2.m Kemisha Meeting-3.m Kemisha Meeting-4.m

6. As the Director of the Graduate Program, with the approval of the Kemisha’s committee members, |
arranged a meeting with the research committee members on August 14, 2023 (snapshot of the meeting

provided below)

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Top left: Dr. Justin Alexander. Top right: Dr. N. K. Rathee. Bottom left: Dr. Kornel Brown. Bottom right: Dr. Ann Knettler.

c. The committee decided to draft a development plan for Kemisha, requiring her to revise and

resubmit her proposal.

2023-08-16
Committee approved

a. The development plan was formulated in consultation with the research committee members, who
are the most relevant experts regarding the research topic and, thus, the best judges of the
student’s work.

b. As part of the development plan, Sonia Sedegui was assigned as an external advisor to work with
Kemisha and ensure an original document was produced. Sonia Sedegui was notified about this on
August 16. Kindly note on the page 4 of this document Sonya Sedegui confirms the receipt of the
developmental plan.

c. It is important to note that due to the plagiarism issue, Kemisha failed the research proposal stage

d. | would like to highlight that many top-tier universities have dynamic policies regarding plagiarism
cases, and not every instance results in the student being removed from the program. The
maximum punishment that Yale University provides is suspension of the student in one or two
semesters; Stanford University provides one-quarter suspension and 40 hours of community
service. According to a report published by Hearst Newspapers, “Often, the first time a student is
found guilty of plagiarism or other forms of cheating, the consequence is assignment-specific. The
instructor may simply give a zero for the work. In some cases, the student may be allowed to redo a
written paper or report with a reduced grade.”

7. On October 16, Dr. Alexander, Dissertation Committee chair, reached out to the committee again with the
revised proposal that Kemisha had written, seeking feedback from the committee members. On November
3, 2023, Dr. Alexander reached out to the committee members again regarding setting a date for Kemisha's

proposal defense (using the research proposal document), as feedback from all committee members had
not been received by that point.
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2023-10-16 Start of
emails from Justin she

a.

8. As previously indicated, on November 4, 2023, Dr. Kornel Brown expressed his dissatisfaction with
Kemisha's research progress in a lengthy email to the research committee members. He then requested
Sonia Sedegui to submit a report on her efforts to ensure Kemisha adhered to ethical standards while

resubmitting the document.

2023-11-04 Email
from Kornel Brown ex

a. Kindly note the inclusion of Dr. Sasso in this email, out of nowhere. As | had mentioned previously
Dr. Sasso had significant role in changing program while | was on leave

b. Kindly note that formal Title IX complaint identifies the date of filing as Nov. 5

c. Dr. Justin Alexander informs Dr. Kornel Brown that Kemisha had failed at the proposal stage
previously and is submitting the revised proposal which he himself had guided due to being

Kemisha’s chair. (email in next point)
2)
POF

2023-11-08 Email
from Justin clarifying 1

d.

9. Aslhad also informed you earlier, Sonia Sedegui neither met with Kemisha nor reached out to her (I have
email evidence). Instead, following Dr. Rouser's advice, she used my husband's emails to file a Title IX
complaint on Nov. 4-5, concealing her lack of action in assisting Kemisha.

2023-11-06 Sonya
Sedegui confirms she

a.

10. On November 6 and 7, | received an email from Dr. Rouser stating that one of Kemisha’s committee
members (Dr. Kornel Brown) had brought Kemisha's plagiarism issues to her attention.

2023-11-06 Email
thread Rouser with m:

a.
b. Kindly note here that whatever email, Dr. Kornel Brown sent to Dr. Rouser, he did not include any
research committee members, including me in that email,
11. On November 7, | informed Dr. Rouser that there had been significant harassment complaints against Dr.
Kornel Brown by Kemisha. However, Dr. Rouser disregarded them as irrelevant compared to the plagiarism
committed by the student.
12:

13,

14.
15.

16.

Ls

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a. | brought this to Dr. Rouser's attention because | had previously met with Kemisha (as indicated
above) and because Dr. Kornel Brown had not included anyone in the email, he sent to Dr. Rouser.

b. Dr. Kornel Brown seems to have submitted the original plagiarized document, instead of the
revised document that Kemisha's chair, Dr. Alexander, submitted on Oct. 16 following the
committee’s approved development plan.

c. Regarding the Title IX complaint, the formal complaint shows that Dr. Rouser, without any
investigation or verification of the complaint's legitimacy, immediately recommended Sonia Sedegui
file a Title IX complaint against me.

d. Incontrast, when | brought to light Kemisha’s harassment issue with one of her research committee
members (Dr. Brown) to Dr. Rouser, she did not follow the same process to date and dismissed it as
irrelevant in the context of Kemisha’s plagiarism issue instead of referring to Kemisha’s matter Title
IX just like Sonya Sedegui.

e. Itis clear that Dr. Rouser is not concerned about university students or employees and simply
weaponized both of the above incidences to target and harm me.

From November 6 to November 8, Dr. Rouser persistently urged me to submit a memo regarding the
student's plagiarism, citing the graduate catalog. However, the catalog does not specify that the director
must provide such a memo; it suggests that any faculty member can do so. Therefore, | requested Dr. Justin
Alexander to submit a memo about the student's plagiarism case. Nonetheless, Dr. Rouser adamantly
instructed him not to and continued to insist that | submit the memo instead.

a. Given the CBA 3.6 statement, which identifies the academic director as the functional head of the
program. Consequently, once | determined that a developmental plan, including the resubmission
of the research proposal document, guided by Justin Alexander as Kemisha's chair and Sonia
Sedegui as an external advisor, was sufficient, this decision was well within my rights and authority.

On November 8th, during a meeting with the chair and coordinators, Dr. Sasso and Dr. Alexander, Dr.
Rouser raised this issue again. She very rudely insisted in front of the coordinators, who report to me, that |
submit the memo. | maintained that it was not my responsibility, and neither the graduate catalog nor CBA
rules required it from me.

On November 10, | received a Title IX complaint and was subsequently placed on administrative leave.

On November 10, Email received from Kemisha complaining about the behavior of Dr. Brown and
requesting to remove him from her committee.

2023-11-10 Email 2023-11-07 Email
From Kemisha to rem from Kemisha re Korr

It is also important to note that Kemisha did not pass her research proposal defense by this point. | am
unaware of what if anything has happened while | was on administrative leave.

On December 15, | received an email from HR stating that my administrative leave would end on December
18. The letter contained allegations of ‘official misconduct’ with an incorrect date and failed to mention
that the Title IX complaint against me had been mandatorily dismissed. Despite my request, HR has yet to
send the corrected version of the administrative leave conclusion letter.

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2023-11-10 2023-12-15
HR_Letter_Start_Ad mir HR_Letter Conclusion_

18. On December 18, when | was dressing up and preparing to go office and resume my duties as a director at

8:30 am, | received a memo regarding my removal from the position of Director at 8:00 am sharp. You can
well imagine how devastating this news was.

Please note what happened to the people involved.

Sonia Sedegui filed false Title IX allegations against me. She has been awarded a full-time post-doctoral
position in addition to her role as a student adviser. She has been given three graduate-level courses in
Spring 2024, including the Doctoral internship, which is a crucial part of the Ed. D. degree. She has no
experience supervising field experiences and little to no experience teaching graduate classes. Additionally,
| loaned $7,610 to Sonia Sedegui to cover her university tuition fees so that she could graduate, which she
has not returned yet. | am accruing interest on my credit card, from which the money went to her to pay
for her Spring 2023 tuition fee.

No action has been taken to provide supportive measure to Kemisha given the concern raised by her with
regard to Dr. Kornel Brown.

The research chair of the student, Dr. Justin Alexander, who is responsible for ensuring correct research
material is produced, is still serving as the assistant professor and student support specialist, receiving
additional pay. He, too, has been assigned graduate courses in Spring 2024.

Rest of the Kemisha’s committee members remains unaffected.

No action has been taken regarding Dr. Brown's bias and harassment towards Kemisha, even though |
have informed the university leadership and dean about it in my response to the removal memo | received
on December 18. Even cognizance has not been taken of the fact that he seems to have misrepresented to
Dr. Rouser citing the unrevised version of Kemisha’s proposal.

o | would like to mention here, though this is not directly related, however, Dr. Kornel Brown had also
demonstrated unprofessional behavior and abusive and threatening language towards me on
multiple occasion.

o Since | never wanted to compromise on the program quality and standards, | was refusing to accept
his unreasonable demands. Hence, he was unhappy with my presence as a Director. It seems he
colluded with Dr. Rouser to conspire against me to cause maximum damage to career and
reputation via plagiarism.

Please note the statement that is in the memo about program quality being compromised is the
same sentiment that is being demonstrated in the video below.

o 1am providing below the video recording from a recent incident demonstrating this.

a

iA

2023-09-26
09-04-16 _V1.mp4

o Relevant time stamps of the video are provided below:

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5:08, 5:17, 5:29, 5:44, 5:47, 6:27, 6:48, 7:03, 7:13, 7:28, 8:05, 8:39, 9:09, 9:19, 9:49, 9:50, 10:45,
11:11, 11:31, 11:47, 12:12, 12:34, 12:59, 13:30, 13:38, 13:48, 14:13, 14:40, 14:54, 15:12, 15:39,
15:54, 16:08, 16:27, 16:44, 17:10, 17:40, 18:46, 19:08, 20:16, 20:49, 21:04, 21:45, 23:05, 24:15,
25:00, 26:50, 27:00, 27:28, 27:43, 28:10, 28:21, 28:27, 28:36.

o had reported this behavior to the concerned higher university authorities and as of yet no
corrective or appropriate actions has been taken, as of yet.

Dr. Rouser continues to break all the rules of the CBA and HR hiring policy and continues to discriminate
against me in front of the university leadership. She is, in fact, protecting everyone who actually committed
the wrong actions and made mistakes. Rather, she has twisted their versions to weaponize them against
me and harm me. She has blatantly displayed her strong dislike of me to the Dean and Associate Dean, yet |
am the only person they have harmed professionally, emotionally, and mentally. She forcefully made
herself the supervisor of all the new graduate program coordinators (like Dr. Sasso) and graduate faculty,
whom | had hired with great effort to get their positions approved by the authorities.

“* On the contrary what happened to me: They planned a coup. During my absence, they made significant
and unnecessary changes to my program, assigned faculty to graduate courses according to their
preferences, spread negative rumors about me to the highest echelons of university leadership, and
suggested to students, whose research | am chairing, that they remove me as their chair, despite my
significant research work with these students. The EDUC 829 graduate course, which | have taught for the
last 10 years, has been taken from me. | have not been assigned any graduate courses. Additionally,
incorrect grades were entered for my EDUC 829 class in Fall 2023 without consulting or informing me. The
moment my administrative leave ended on December 18, a memo based on false allegations was sent out
of nowhere to remove me from the director’s position without hearing me out or due process. My
conversation with the associate dean reveals that Dr. Rouser harbors animosity towards me and has
conveyed the same to Dean Emily Williams. She has stated that she doesn’t want to interact with me, yet
the Dean didn’t find this discriminatory and continued the wrongful actions against me. | reached out to
the senior administrators, some of whom were my students, and | helped them in their research and
getting their degrees when they were in tough situations and couldn't do it themselves. It is those doctoral
degrees they used to become senior administrators at Delaware State University, yet in time of need they
are not even willing to lend a ear and understand the wrong doings that have been happening against me.

Central Repository

1. Regarding the data issue, all necessary information resides with the CAEP Coordinator of the Department
at AIMS, on the blackboard, on the banner, and with the Graduate School.

2. This is such a generic false allegation. | would like to mention here that similar allegations were also put on
the CEO of ChatGPT, Sam Altman, by the board of directors at OpenAl to remove him from the position of
CEO. However, he was brought back to the same position after a few days.

3. The challenge lies not in data availability but in the willingness to extract and utilize it effectively.

4. The creation and maintenance of a central data & information repository, AKA the main database, is a full-
time role. Job titles are, for example, Database Administrator (DBA), Data Engineer, or Data Architect.

5. To maintain and run the program, one needs student information, progress, course info, and faculty info.
Not only did | provide this to the Dean during the administrative leave, but it is also available on the
university banner and university blackboard. For research status and form information, each faculty
member can be easily accessed and reached out to. Honestly, at this point, | am certain that Dr. Rouser
doesn’t even know how to obtain basic information from the university banner and university blackboard.
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6. For the last year, | didn’t even have an office secretary, and | had to alone manage the program with 300-
400 students, and all their issues. Not to mention the program coordinators, whose selection was finalized
only after almost 2 years of requests.

7. This is another issue | would like to highlight with respect to Dr. Rouser, as she thwarted the selection of a
secretary in my office for 1 year, performed actions to again demean me and my position, and manipulated
interview scores by her secretary. Even though the secretary selection was for my office (Director’s), Dr.
Rouser made her secretary the selection committee chair and chose the members of the committee
according to her liking (another of her secretaries and an HR friend). | was never consulted, and when |
realized that all the actions of the selection committee chair were being performed by Dr. Rouser’s
secretary, while | was made just another committee member, | repeatedly asked Dr. Rouser who the
selection committee chair was many times via email, and until now, Dr. Rouser has never answered this
basic question (she clearly knows but doesn’t want to say).

8. Interestingly, only when I was on administrative leave was a secretary selected for my office. Also, Dr.
Rouser didn’t comply with HR policy on hiring staff. | informed HR about the actions of Dr. Rouser and her
non-compliance with HR, but HR didn’t do anything.

9. | can expound on this matter more as and when needed, including providing evidence.
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Exhibit 13.
Case 1:24-cv-00777-UNA Document 1-1 Filed 07/02/24 Page 87 of 101 PagelD #: 104

Table:

Comparison between the development plan from Aug. 16, 2023, that | had developed after the
committee meeting, and the memo from Dr. Rouser dated Dec. 18, 2023.

The text in red font is the material that Dr. Rouser directly copy-pasted from the Aug. 16
development plan into her memo.

The very few texts in purple represents the paraphrasing done by Dr. Rouser to hide the
plagiarism she is committing by copying content from the Aug. 16, 2023, development plan

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Research
Proposal
Modification

that | had developed.

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(PY=V-)lelelartsial mia lie \elelgolt/-te ll o)V]

ol artaaliacsis})

"Research Proposal Modification: The
student is hereby directed to
undertake a broad revision of her
research proposal. This initiative aims
to augment both the qualitative
robustness and the authenticity of her
academic endeavor."

BY =lommn Rs jy4 6 Pee
WY/felantom xem <-anlcjateMigelesm Blom stolity=1g

"Research Proposal Modification:
The student is hereby directed to
undertake a broad revision of her
research proposal to ensure the
robustness and authenticity of the
academic work."

Submission of

"Submission of Revised Document:

"Submission of Revised

Revised Subsequent to the above-mentioned Document: After the above-
Document revision process, the student is mentioned revision process, the
obligated to proffer the modified student is obligated to submit the
proposal for preliminary scrutiny to her modified proposal for preliminary
oe ___Committee Chair." review to the Committee Chair." |
Endorsement "Endorsement and Committee "Endorsement and Committee
and Dissemination: Following the Dissemination: Following the
Committee Committee Chair's formal endorsement Committee Chair's formal

Dissemination

of the revised proposal, the document
shall be disseminated to the members
of the Dissertation Advisory
Committee."

endorsement of the revised
proposal, the document shall be
disseminated to the members of
the Dissertation Advisory
Committee."

Scheduling
Contingencies

"Scheduling Contingencies: The
presentation of the research proposal
shall be calendarized subsequent to a
unanimous affirmation from the
Dissertation Advisory Committee. It is
imperative to underscore that without
this collective concurrence, the

"Scheduling Contingencies: The
presentation of the research
proposal shall be scheduled after
a unanimous affirmation from the
Dissertation Committee; without
this collective agreement, the
presentation shall not proceed."

presentation shall not proceed."
Case 1:24-cv-00777-UNA Document 1-1 Filed 07/02/24 Page 88 of 101 PagelD #: 105

Additionally,

“as a measure to fortify the academic “Retake EDUC 831... as a measure
integrity and offer necessary remedial to ensure that the expectations for

guidance, Sonya Sedegui... has been research are reinforced, relearned
formally engaged as an external and applied to the board revision
Advisor... to ensure that the student’s = required.
Re Sonya G5
: scholarly submission adheres to, and
Sedegui

exemplifies, the stringent standards of Kindly note, the course instructor

originality and genuineness that our of EDUC 831 course has been

institution upholds.” assigned by Dr. Rouser as Sonya
Sedegui.

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Exhibit 14
Fwd: Gradifate Office Updates ocument 1-1 Filed 07/02/24 Page 90 of 101 PagelD #: 107

‘rom = Stairs, Lucie S. (Adjunct)
o Nkrathee7@proton.me

Yate Friday, January 12th, 2024 at 8:00 PM

Narm regards,
ar. Stairs

3egin forwarded message:

From: “Lucie S. Stairs" <Istairs@desu.edu>
Date: January 12, 2024 at 7:58:53 PM EST
To: lucie.s.stairs@wilmu.edu

Subject: Fwd: Graduate Office Updates

Warm regards,
Dr. Stairs

Begin forwarded message:

From: Shelley Rouser <srouser@desu.edu>

Date: January 12, 2024 at 4:27:01 PM EST

To: Kemal.atkins@yahoo.com, Kornel Brown <KoBrown@desu.edu>, brownburke@yahoo.com, david.carter@irsd.k12.de.us,
mjonathan86@hotmail.com, Schentel Jones <sporter@desu.edu>, drmargarit2021@gmail.com, "Dawn M. Mosley”
<dmosley@desu.edu>, Vita Pickrum <vpickrum@desu.edu>, dr.pinkney@yahoo.com, kalia.reynolds@gmail.com,
candra.sudler@gmail.com, tconsulting@yahoo.com, Ann Knettler <aksmith@desu.edu>, Brian Walley
<bwalley@desu.edu>, ccshockley@comcast.net, denisenixon413@gmail.com, helenayuktabot@yahco.com,
michael.prettyman@nccvt.k12.de.us, mlcampbellennis@gmail.com, nyia.mccants@echs.k12.de.us,
shelbygordon@atlanticbb.net, tannacjackson@gmail.com, TyancyO8@gmail.com, Phyllis Collins <pcollins@desu.edu>,
“Amber C. Ward" <award@desu.edu>, Bina Daniel <bdaniel@desu.edu>, loweryc@ohio.edu, CME@crystalmedwards.com,
coachmhjames@gmail.com, TLBoyer@ccps.org, Diana Yankovich <dyankovich@desu.edu>, ahilton@suno.edu,
Drguilford2@gmail.com, varneka2000@yahoo.com, mjones@ccboe.com, "Chalishah R. Boggs” <cboggs@desu.edu>, Karer
Holland <kholland@desu.edu>, "Shaun M. Mason” <smmason@desu.edu>, Daniel Awediya <dawodiya@desu.edu>, “Lisa
M. Lancaster" <Ilancaster@desu.edu>, “Lucie S. Stairs” <Istairs@desu.edu>, Diana Yankovich <dyankovich@desu.edu>,
donya.maull@delaware.gov, “Hazel B. Beaumont” <hbeaumont@desu.edu>, Janee Huff-Truesdale
<jhtruesdale@desu.edu>, sedeguisonya@gmail.com, “Aaron C. Bass” <abass@desu.edu>

Ce: "Pietro A. Sasso" <psasso@desu.edu>, Brenda Wynder <bwynder@desu.edu>, “Reshid X. Walker"

<rxwalker@desu.edu>, Darren Rainey <drainey@desu.edu>, Tina Mitchell <tmitchell@desu.edu>
Subject: Graduate Office Updates

A message from the Chair
OreeGAgs 1:24-cv-00777-UNA Document 1-1 Filed 07/02/24 Page 91 of 101 PagelD #: 108
Happy New Year and wishing you a great semester ahead! This email provides timely information on

changes in the Education Department's Graduate Programs Office to ensure you have updated information
on the graduate team.

Effective January 8 2024, Dr. Tina Mitchell (tmitchell@desu.edu) is now the Acting Director of Graduate
Education Programs. Dr. Mitchell will oversee the office operations and graduate program quality
overall. We are thankful for Dr. Rathee's service over so many years.

Programs the Graduate Office provides include:
e the Master of the Arts in Teaching (MAT)/Alternative Route to Certification (ARTC) degree
e the Master of the Arts in Equitable Curriculum and Instructional Leadership (ECIL) degree
e the Master of Education Leadership (MEd)
e the Doctorate in Education (EdD): Higher Education and K12 concentrations

Dr. Pietro Sasso, Higher Education EdD Program Coordinator/Associate Professor joined the team in
August 2023, and serves as the primary point of contact for matters related to the higher education
concentration in the EdD program. psasso@desu.edu

Dr. Brenda Wynder, K12 EdD Program Coordinator/Associate Professor, is the newest member of the team

joining January 8" - a brief introduction is therefore in order. She brings a wealth of expertise at all levels of
K12 leadership from building principal to central office director to superintendent. She is the primary point
of contact for matters related to the K12 education concentration in the EdD program.
bwynder@desu.edu

Dr. Reshid Walker, K12 MEd Program Coordinator/Assistant Professor, joined the team in October 2023,
and serves as the primary contact for matters related to the MEd program. rxwalker@desu.edu

Darren Rainey is our Program Manager for Recruiting and Retaining Diverse Educators and also the
Coordinator for the MA in Equitable Curriculum and Instructional Leadership. He launched the first
cohort of the degree in Summer 2023. New cohorts are planned for this year, as well as differentiated
options for this innovative program. drainey@desu.edu

Jennifer Lopez will support the Graduate Office Leadership Team as the Administrative Secretary starting
Tuesday, January 16. jlopez@desu.edu 302-857-7170, EH Office 112.

This new graduate leadership team is joined by the esteemed faculty team that follows, along with you as
an extension of our team.

[Pr Joseph Falodun Dr. Richard Phillips Dr. Chetanath Gautam

p Yvette Pierre Dr. SaeYeo! Yoon Dr. Justin Alexander

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We engaged with students in two Fall Focus groups. There have also been conversations with EdD
higher education adjunct faculty, and we will extend that to MEd and EdD K12 adjunct faculty now
that Dr. Wynder is on board. We listened to both you and our students, and you can be assured we
will be responsive. More to follow on how that feedback will inform graduate programming. You can
expect such a feedback loop to become a norm as we engage with you in the future.

Thank you for partnering with us to deliver quality learning experiences to our candidates and ij wish you a
great semester with your students!

Dr. Shelley S. Rouser, Chair

Shelley S. Rouser, Ph.D. (she, her)

Delaware State University

Education Department Chair, Associate Professor
O| 302-857-6720 Email|srouser@desu.edu

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Exhibit 15
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DELAWARE STATE UNIVERSITY

OFFICE OF HUMAN RESOURCES

January 18, 2024

Dr. Nirmaljit Rathee
54 Shinnecock Road
Dover, DE 19904

Dear Dr. Rathee:

The Office of Human Resources has reviewed your request for leave under the Family
Medical Leave Act (FMLA)/ and supportive documentation that you have provided. In
accordance with the Department of Labor Standards for FMLA your request has been
approved.

Pursuant to your request this leave commenced 01/05/24. Further, the duration of this
FML is for up to 12 weeks within the 12-month period beginning January 05, 2024.

If you are taking leave for the purpose of caring for a relative and have scheduled
leave on an intermittent basis, kindly furnish this office with certification of the
date(s) in which you will be using approved FML. Please note that you may utilize
annual, sick and or personal leave on days needed.

Should you need further clarification, please contact the Human Resources Benefits Unit
at 302/857-6262.

_- Sincerely, 2
Vernice Oney
Benefits Coordinator

cc: Dr: Shelley Rouser

Dr. Emily Williams
File

1200 NORTH DUPONT HIGH WAY e DOVER. DELAWARE 19901-2277 ¢ (302) 857-6261 » FAX (302) 857-6264

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Exhibit 16
. Case 1:24-cv-00777-UNA Document 1-1 Filed 07/02/24 Page 96 of 101 PagelD #: 113
[EXTERNAL] - Fw: Change of Committee Member of Chair

Oswy Gayle <oswick7@yahoo.com>
Sat 2/3/2024 6:06 PM
To:Nirmaljit K. Rathee <nrathee@desu.edu>

Dr. Rathee, please see another one of these emails.

Sent from Yahoo Mail on Android

----- Forwarded Message -----

From: "EduGrad" <edugrad@desu.edu>

To: "Pietro A. Sasso" <psasso@desu.edu>, "sherjohn40@gmail.com" <sherjohn40@gmail.com>,
"chosencalvin@gmail.com" <chosencalvin@gmail.com>, "holewin21 @students.desu.edu"
<holewin21@students.desu.edu>, "everton.thomaslaurell@gmail.com"
<everton.thomaslaurell@gmail.com>, "delightedsunny@gmail.com" <delightedsunny@gmail.com>,
"ishque78@yahoo.com" <ishque78@yahoo.com>, "oswick7 @yahoo.com" <oswick7@yahoo.com>
Ce: "Justin L. Alexander" <jlalexander@desu.edu>

Sent: Fri, Feb 2, 2024 at 12:50 PM

Subject: Re: Change of Committee Member of Chair

Good afternoon!

My name is Dr. Tina Mitchell and I am contacting you in my capacity as the Program Director for the
Graduate Education Programs. You have all been working hard to complete your doctoral studies and
you are to be commended for your progress. However, as Dr. Sasso has reported, Dr. Rathee is
currently unavailable to work in the capacity of chair or committee member on your projects. We are
committed to seeing you all through this process. Dr. Sasso will work with all students currently
enrolled in the program to assign you a new chair for your project. The quicker this can be done, the
faster you can continue to progress through your program, complete your dissertation, and graduate.
All of our faculty members are capable in supporting you, being your champion, and continuing the
work that you have started. You will all be in good hands. If you do not comply, you risk the chance of
slowing down your process and even worse not completing your program. Dr. Sasso will be in touch
with all students currently enrolled in the program who have been assigned to Dr. Rathee to develop a
plan. If you have any questions, please don't hesitate to ask. Thank you in advance for your
cooperation.

Tina L. Mitchell, Ed.D. (she, her, hers)
Director of Graduate Education Programs
Coordinator, ARTC/MAT Programs
Assistant Professor of Education

Education Department - EH109

O: 302-857-7570 E: tmitchell@desu.edu
1200 N. DuPont Highway, Dover, DE 19901

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From: Pietro A. Sasso <psasso@desu.edu>

Sent: Friday, January 26, 2024 9:55 PM

To: sherjohn40@gmail.com <sherjohn40@gmail.com>; chosencalvin@gmail.com <chosencalvin@gmail.com>;
holewin21@students.desu.edu <holewin21@students.desu.edu>; everton.thomaslaurell@gmail.com
<everton.thomaslaurell@gmail.com>; delightedsunny@gmail.com <delightedsunny@gmail.com>;
ishque78@yahoo.com <ishque78@yahoo.com>; oswick7@yahoo.com <oswick7 @yahoo.com>

Cc: EduGrad <edugrad@desu.edu>; Justin L. Alexander <jlalexander@desu.edu>

Subject: Change of Committee Member of Chair

EdD Students,

Hello! | hope this email finds you well. This email is in regard to your dissertation process and
committee membership. | am emailing you in the capacity as program coordinator of the higher
education EdD program. Most of you have been previously informed that Dr. Rathee is on leave which
began this semester and continues into this semester. However, she is unfortunately unavailable to
serve on dissertations as a chair or a committee member. We will need to make arrangements to find
you a new committee member or dissertation chair. Please send me the membership of your
dissertation committee immediately in response to this email. In most cases will be able to identify a
new dissertation chair or committee member since most of you are approaching your final defense
this semester. | want to support you as a scholar and to ensure that you are able to successfully persist
towards your dissertation defense.

Pietro A. Sasso, PhD

Associate Professor of Higher Education

Higher Education Programs Coordinator | Department of Education
E: PSasso@desu.edu| O: 302-857-6720

1200 North DuPont Highway, Dover, DE 19901 | desu.edu
Professional Website: www.drsasso.com

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Exhibit 17
Case 1:24-cv-00777-UNA Document 1-1 Filed 07/02/24 Page 100 of 101 PagelID #: 117
[EXTERNAL] - Re: Change of Committee Member of Chair

Cynthia Huie <sherjohn40@gmail.com>

Sun 1/28/2024 7:34 PM

To:Pietro A. Sasso <psasso@desu.edu>
Ce:chosencalvin@gmail.com <chosencalvin@gmail.com>;holewin21 @students.desu.edu <holewin21@students.desu.edu>;

everton.thomaslaurell@gmail.com <everton.thomaslaurell@gmail.com>;delightedsunny@gmail.com <delightedsunny@gmail.com>;
ishque78@yahoo.com <ishque78@yahoo.com>;oswick7 @yahoo.com <oswick7 @yahoo.com>;EduGrad <edugrad@desu.edu>;Justin L.
Alexander <jlalexander@desu.edu>

Good evening, Dr Sasso,

Thank you for your email. | want to clarify that | am not interested in changing my committee chair or any
committee members. My current chair has worked closely with me and provided me with valuable guidance
throughout my dissertation journey. | am satisfied with her guidance and want her to continue to guide me

until the end of this journey.

| have completed writing my paper, incorporated all the suggested corrections given to me by my chair in
early January, and have applied to present my defense on March 1, 2024, at 11:30 am. Since | am in the final
stages, | don't think it would be useful to include a new member in my committee at this point.

| hope you understand that | am committed to completing this degree program by May 2024, and any
suggested changes to my plan at this time are not feasible.

Yours Sincerely.
Cynthia Johnson Huie

On Fri, Jan 26, 2024 at 9:55 PM Pietro A. Sasso <psasso@desu.edu> wrote:
EdD Students,

Hello! | hope this email finds you well. This email is in regard to your dissertation process and committee
membership. | am emailing you in the capacity as program coordinator of the higher education EdD program.
Most of you have been previously informed that Dr. Rathee is on leave which began this semester and
continues into this semester. However, she is unfortunately unavailable to serve on dissertations as a chair or
a committee member. We will need to make arrangements to find you a new committee member or
dissertation chair. Please send me the membership of your dissertation committee immediately in response
to this email. In most cases will be able to identify a new dissertation chair or committee member since most
of you are approaching your final defense this semester. | want to support you as a scholar and to ensure
that you are able to successfully persist towards your dissertation defense. .

Pietro A. Sasso, PhD

Associate Professor of Higher Education

Higher Education Programs Coordinator | Department of Education
E: PSasso@desu.edu| O: 302-857-6720

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